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 COUNSEL FOR CREDITOR
 QUAD/GRAPHICS, INC.

                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION

 In re:                                               §
                                                      §      Case No. 21-30085-hdh-11
 NATIONAL RIFLE ASSOCIATION                           §
  OF AMERICA,                                         §
                                                      §      Chapter 11
          Debtor.                                     §

                    QUAD/GRAPHICS, INC.’S WITNESS AND EXHIBIT LIST

          COMES NOW WC Quad/Graphics, Inc. (“Quad”) and offers the below list of witnesses

 and exhibits for the hearing on the Emergency Joint Motion to Approve Agreement Providing

 Replacement Liens as Adequate Protection of Security Interest in Personal Property [Dkt 106]

 (the “Motion”) scheduled for Wednesday, February 10, 2021, at 2:00 p.m. CT in the virtual

 conference room of Judge Harlan D. Hale in the United States Bankruptcy Court for the

 Northern District of Texas, Dallas Division (the “Bankruptcy Court”).

                                        WITNESS LIST

          1.     Juan Mostek
                 Director of Global Credit
                 Quad/Graphics, Inc.
                 N61W23044 Harry’s Way
                 Sussex, WI 53089; and




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         2.      Rebecca Miller
                 Director Paper Business Process
                 Quad/Graphics, Inc.
                 N61W23044 Harry’s Way
                 Sussex, WI 53089


                                           EXHIBIT LIST

                                                                       Admitted /
 Ex. #                    Description           Offered   Objection      Not        Disposition
                                                                       Admitted
 1.      Integrated Services Agreement

 2.      Schedule of Debt as of Petition
          Date
 3.      Schedule of Paper Inventory
          as of Petition Date

 Dated: the 8th day of February 2021.

                                                     Respectfully submitted,

                                                     FISHMAN JACKSON RONQUILLO PLLC

                                                      /s/ Mark H. Ralston
                                                     Mark H. Ralston
                                                     State Bar No. 16489460
                                                     Fishman Jackson Ronquillo PLLC
                                                     Three Galleria Tower
                                                     13155 Noel Road, Suite 700
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                                                     COUNSEL FOR QUAD/GRAPHICS, INC.




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                                CERTIFICATE OF SERVICE

       This is to certify that the undersigned caused a true and correct copy of the foregoing
 document to be served on all persons receiving electronic notice of filings in this case through
 the ECF system and on the attached official service list, on this, the 8th day of February 2021.

                                                     /s/ Mark H. Ralston
                                                    Mark H. Ralston




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                                 NATIONAL RIFLE ASSOCIATION
                               INTEGRATED SERVICES AGREEMENT

     Quad/Graphics, Inc., Sussex, Wisconsin 53089 ("Quad/Graphics"), a Wisconsin
     corporation, and the National Rifle Association of America, Fairfax, Virginia 22030
     ("Customer"), a New York not-for-profit corporation, with addresses as they appear
     below, agree as follows:

     1. Subject of Agreement
    Throughout the Term of this Agreement, Customer will exclusively purchase from
    Quad/Graphics and Quad/Graphics will sell to Customer all of Customer's requirements
    for ink and production services including preparatory services, platemaking/cylinder
    engraving, printing, binding, mailing, list services, and packing and loading for shipment,
    and shipping to a suitable United States Postal service facility for certain of Customer's
    titles or programs ("Publications") as more fully described in Schedule A ("Work").
    Customer may, from time to time, participate in Quad/Graphics' "multi-bind" program.
    Such participation shall be subject to the terms and conditions contained on Schedule H.
    Customer may also request Quad/Graphics to perform additional services (including
    custom web printing or direct mail services). If Quad/Graphics has the capacity and
    availability of equipment, facilities, and additional materials, then the billing of such
    additional services will be in accordance with the attached Price Schedules (for product
    of similar specification) or applicable sales quotation, as the parties shall mutually agree.

    The Work will be performed by Quad/Graphics and paid for by the Customer in
    accordance with the following schedules, which are attached hereto and are made a part
    hereof:

      Schedule A           Description of Work
      Schedule B           Preparatory Price Schedule
      Schedule C-1         Manufacturing Price Schedule and Paper Requirements
      Schedule C-2         Distribution Agreement
      Schedule C-3         Guidelines for Third Party Logistics Company or Carrier
      ScheduleD            Paper Specifications
      ScheduleE            Production Schedule
      Schedule F           Holiday Schedule
      Schedule G           Payment Terms Letter
      Schedule H           Multi-Bind Terms

    2. Term of Agreement
    The term of this Agreement shall be for a pe1iod of three (3) years, commencing with
    production of the January 2006 issues of the Work, on or about November 1, 2005 (the
    "Effective Date") and continuing through production of the January 2009 issues of the
    Work, but not later than December 31, 2008 (the "Term").

    3. Pricing
    A.     Pricing for the Work is set forth in the Price Schedules (Schedules Band C-1).



                                  Ex 1
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     Pricing may be adjusted in accordance with Section 5.

     B.      Customer recognizes that the pricing is exclusive of sales and use taxes. Any sales
     or use tax imposed upon the Work by federal, state or local taxing authorities will be
     added to the invoice and paid for by Customer.

     4. Freight and Postage Costs
     Customer acknowledges that all freight charges and postage costs are additional. In
     advance of the mailing date for Work to be mailed, Customer will ensure that the
     appropriate Postal Service account contains sufficient certified funds to cover
     Quad/Graphics' good-faith estimate of the mailing costs. In the event that
     Quad/Graphics' good-faith estimate of the mailing costs is insufficient to meet the actual
     costs of mailing, Quad/Graphics agrees to pay the difference and to invoice Customer for
     that amount.

     In the event that Customer requires use of a specified third party carrier or arranges pick-
     up by a third party carrier, Customer will ensure that such third party carrier adheres to
     the Guidelines for Third Party Logistics Company or Carrier, attached hereto as Schedule
     C-3.

     S. Price Adjustments
     A.      If during any contract year after the date this Agreement becomes effective (the
     first contract year beginning on that date, and ending the following year at 11:59 p.m. on
     the date immediately preceding), Quad/Graphics' cost of ink increases or decreases, then
     Customer's prices that include as an element the cost of ink shall be adjusted upward or
     downward to reflect such cost increase or decrease, in accordance with the following
     table. Quad/Graphics shall give Customer 30 days' notice of any increase or decrease in
     prices due to increases in Quad/Graphics' ink costs.

                           Reported Ink Increase/
                                Decrease
                             in Contract Year          Percentage of Adjustment
                                  1.0%                 No increase
                                 2.0%                  No increase
                                 3.0%                  No increase
                                 4.0%                  No increase
                                 5.0%+           100% of portion in excess of 3%

                    Examples:
                    i) If the documented increase or decrease of Quad/Graphics' ink costs
    were 2.0% in any contract year, then there would be no price adjustment to Customer's
    ink prices in such contract year.

                    ii) If the documented increase or decrease of ink costs were 5.0% in any
    contract year, then the adjustment in such contract year would be based upon 100% of the
    portion that was in excess of 3.0%. (i.e. 5.0% - 3.0% = 2.0% x 100% = 2% ).
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                   iii) If the documented increase or decrease of Quad/Graphics' ink costs
     were 2% during Year 1 of the Term, then there would be no price adjustment to
     Customer's ink prices in Year l. If the documented increase or decrease of ink costs were
     then 4.0% in Year 2 of the Term, then there would be no resulting adjustment to
     Customer's ink prices in Year 2.

     The freight rates in the attached Distribution Agreement shall be adjusted to include a
     fuel surcharge. Fuel surcharges will be calculated based on the national diesel fuel
     average price as reported by the Energy Information Administration, a statistical agency
     of the U.S. Department of Energy, and passed along pursuant to the table in the
     Distribution Agreement attached hereto. If at any time during the Term the national
     diesel fuel average price as reported by the Energy Information Administration falls
     below the price as of the date this Agreement becomes effective, Customer's freight
     rates, as adjusted for the fuel surcharge, shall be reduced accordingly to reflect the
     reduced fuel surcharge.

     B.      Customer will have the right to review all invoices and other documentation
     relative to increases in pricing as provided herein. Customer shall have the right to
     contest any increase in prices under this Section that is not properly substantiated by
     invoices and other documentation, or is not in accordance with this Section.

    C.      During the Term, manufacturing invoices for the Work shall reflect the
    application of a ten percent (10.0%) manufacturing discount ("Manufacturing Discount").
    The Manufacturing Discount applies to charges for: press (including plates/cylinders);
    ink; binding; packing/handling; and mailing services performed under the Agreement.
    The Manufacturing Discount does not apply to charges for: preparatory; Quad-supplied
    paper; list management; freight; postage; postal savings; storage; and direct charges for
    materials (e.g. custom polywrap ).

    6. Payment Terms

    A.      Payment for services shall be due in accordance with the attached Payment Terms
    Letter.

    B.      Past due invoices are subject to a service charge of one and one-half percent (1-
    1/2%) per month on the outstanding balance. Disputed items will not be subject to a
    service charge; provided, however, Customer will not withhold payment of undisputed
    items.

    C.      Should there be a substantial adverse change in Customer's credit standing so that
    Quad/Graphics has reasonable grounds for insecurity with respect to Customer's
    compliance with the credit terms of this Agreement, Quad/Graphics has the right to
    request adequate assurance of due performance from Customer, and Customer shall
    furnish such assurances promptly to Quad/Graphics.
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     D.       As secmity for payments for any sum owed to Quad/Graphics under the terms of
     this Agreement, Quad/Graphics will have the right, in the event that any payment or
     payments by Customer under this Agreement become past due, to retain possession of
     and will have a lien on all paper and any other property owned by the Customer and in
     Quad/Graphics' possession. In the event that any payment or payments by Customer
     under this Agreement become past due, Quad/Graphics agrees that it shall retain
     possession only of such portion of Customer's paper or property as is reasonably
     necessary to secure payment of the amount past due; and Quad/Graphics further agrees
     that it will retain possession of finished Work only if Customer's paper and other
     property in Quad/Graphics' possession are insufficient to secure payment of the amount
     past due.

     7. Production Schedule
    Customer delays or errors in furnishing the materials or performing the obligations that it
    is required by this agreement to furnish or perform may result in adjustments to the
    Production Schedule or additional charges for overtime and/or holiday work for
    expedited production; however, Quad/Graphics shall use commercially reasonable efforts
    to avoid scheduling overtime and/or holiday work. If Customer requests changes in the
    Production Schedule, Quad/Graphics will use commercially reasonable efforts to
    accommodate Customer in amending the Production Schedule to put such changes into
    effect.

    8. Change in Specifications
    Customer may change the details of the specifications of the Work as to such items as
    print order, page count, paper, type of copy, binding specification, frequency, shipping
    schedules or in any other respect upon giving sufficient notice in writing to
    Quad/Graphics to determine if Quad/Graphics' existing plant, equipment, schedule and
    labor force can accommodate the requested changes and to determine the availability of
    additional materials. Quad/Graphics will use commercially reasonable efforts to
    accommodate Customer in putting such changes into effect. Customer acknowledges that
    a change in specifications may result in an adjustment to the Price Schedules and/or the
    Production Schedule, as mutually agreed upon by the Parties.

    9. Proofs
    A.    Press Proofs. Quad/Graphics shall furnish Customer with confirming proofs on
    all pages for position and content (i.e., BPs, DBLs). Customer shall review and provide
    its final approval for the proofs. Quad/Graphics shall not be liable for errors in
    Customer's work if: (i) the work is printed per Customer's approval; or (ii) requests for
    changes are communicated orally. Additional production costs relating to alterations or
    corrections shall be billed at current rates.

    B.      Finishing Proofs. Customer shall furnish Quad/Graphics with proofs for all
    versions of Customer's work to confirm desired finishing operations. Quad/Graphics
    shall not be liable for errors in Customer's work if (i) proofs are not furnished by
    Customer; (ii) finishing operations are performed per Customer's proofs; or (iii) requests
    for changes are communicated orally. Production costs relating to alternations or
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     corrections, not addressed in Schedule B, shall be billed at current, reasonable rates.

     10. Materials Furnished By Customer
    Paper, digital files, and other materials furnished by Customer will be properly packed,
    free from dirt, grit, mechanical defects, etc. and will comply with Quad/Graphics'
    reasonable specifications, quality and manufacturing standards. Additional costs due to
    delays, impaired production or the repair or replacement of such materials because of
    Customer's failure to meet such standards will be charged to Customer at Quad/Graphics'
    standard rates. However; in the event that any paper, digital files, or other materials
    furnished by Customer fail to comply with Quad/Graphics' reasonable specifications,
    Quad/Graphics shall promptly notify Customer upon its discovery of the non-compliance;
    shall give Customer the option to remedy the deficiency(ies) through a supplier or
    suppliers of its own choosing within a reasonable time, or to request that Quad/Graphics
    remedy the deficiency(ies); and, subject to the provisions of Section 7, shall make
    commercially reasonable efforts to avoid taking any action likely to increase Customer's
    damages resulting from the deficiency(ies). Customer is responsible for independently
    seeking recourse from its suppliers with respect to such defective materials. Materials
    furnished by Customer (e.g., inserts) will include manufacturing waste allowances that
    Quad/Graphics deems adequate, as long as those allowances are reasonable under the
    standards of the printing industry, and will be adjusted to Quad/Graphics' count.
    Quad/Graphics will not be liable for results caused by the use of any unsuitable or
    unsatisfactory materials furnished by Customer unless directed by Customer, at
    additional cost to Customer, to make corrections, repairs or substitutions Quad/Graphics
    deems necessary.

    Quad/Graphics shall have a duty to proof the color fidelity of all finished Work made
    from film furnished by Customer, and the integrity of digital files furnished by Customer,
    and shall advise Customer of the results of such proofs. In other words, Quad/Graphics
    shall produce proofs from such film and files and shall provide such proofs to Customer
    for approval. Quad/Graphics will notify Customer if it detects any corruption of the files.
    Quad/Graphics shall be responsible for the color fidelity of finished Work made from
    film furnished by Customer, and the integrity of digital files furnished by Customer,
    unless Quad/Graphics completes its duties under this paragraph and advises Customer
    that the finished Work/digital files produce unacceptable color fidelity, and Customer
    fails to take appropriate remedial action. In other words, subject to the manufacturing
    variances referred to in Section 18 (Performance), Quad/Graphics shall be responsible for
    ensuring that the color fidelity of finished Work conforms to the proofs as approved by
    the Customer.

    Any calculation of consumption of Customer-furnished paper will be adjusted for: (a)
    variance between actual weight and the basis weight specified; and, (b) damaged,
    defective or otherwise nonconforming paper delivered to Quad/Graphics.

    11. Paper
    A.      Customer shall furnish paper for the production of the Work and such paper will
    be furnished in roll widths as herein set forth, delivered at Quad/Graphics' plant in
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     accordance with the Specifications Schedule, Paper Requirements Schedule and
     Quad/Graphics' specifications for the accounting, shipping, and storage of such paper.
     Quad/Graphics' shipping and mechanical specifications for Customer-furnished paper are
     attached hereto and may be subject to reasonable change from time to time. The most
     current version of these specifications may be found at
     http://www.qg.com/prodserv/paperspecs. pdf.

     B.        In the event Customer decides Quad/Graphics shall furnish paper for the printing
     of inserts or one or more of Customer's Publications, as more fully described in Schedule
     A, then Customer shall give Quad/Graphics at least ninety (90) days' written notice. The
     foregoing notwithstanding, Quad/Graphics will use commercially reasonable efforts to
     obtain paper upon notice of fewer than ninety (90) days. Quad/Graphics will furnish
     paper for all forms per the Specifications Schedule and the Paper Specifications Schedule
     (Part I).

     12. Responsibility for Product
     Customer warrants that any matter it furnishes for reproduction does not infringe upon
     any copyright, trademark, or trade name, is not libelous and does not otherwise violate
     any law. Customer agrees to indemnify and hold Quad/Graphics harmless against all
     claims, damages and expenses, including attorneys' fees, which Quad/Graphics may
     incur as the result of any claims of such violation.

     13. Quantity Variation
     Variations in quantity of up to 5,000 copies over and no quantity under the number
     ordered, per title, will constitute acceptable delivery and any such excess will be charged
     at the additional thousands rate stated in the Price Schedule. In no event, however, shall
     Customer be obligated to pay for any overage in excess of 5,000 copies, unless Customer
     shall specifically agree to accept said overage, in which case Customer shall be charged
     at the additional thousands rate stated in the Price Schedule.

     14. Insurance
    Quad/Graphics agrees to maintain, at its own expense, a comprehensive liability
    insurance policy insuring Quad/Graphics and adding Customer as an additional insured.
    Said insurance policy shall have at least a minimum coverage of one million dollars
    ($1,000,000.00) per single occurrence. Furthermore, Quad/Graphics shall provide
    property insurance naming Customer loss payee, which shall insure against loss of Work,
    including interim Work or Work-in-process, paper, or other property or materials
    belonging to Customer, at replacement value, which may be in the possession of
    Quad/Graphics, subject to the terms, conditions, definitions, exclusions, limits and
    deductibles of such policies. Customer's recovery and Quad/Graphics' liability for loss
    or damage will be limited to the proceeds from Quad/Graphics' insurance.
    Quad/Graphics shall also, at its own expense, obtain and keep in force a policy of
    comprehensive workers' compensation insurance in accordance with the laws of the
    state(s) in which Quad/Graphics' employees are located at Quad Graphics' facility at
    which the Work is produced. All of said policies (other than workers' compensation
    insurance policies) shall extend coverage to Customer as its respective interest may
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      appear. Such policies shall not be cancelable or subject to material reduction in coverage
      except after ten days' written notice to Customer.

     15. Title and Risk of Loss
     Title and risk of loss to interim and finished Work shall pass to Customer upon delivery
     by Quad/Graphics or its subcontractor(s) to a common or contract carrier or to the U.S.
     Postal Service, F.O.B. Quad/Graphics' or its subcontractor's(s') shipping dock, as the
     case may be, regardless of whether the carrier is owned and/or operated by
     Quad/Graphics.

     Quad/Graphics hereby disclaims any right, title or interest in and to (a) any and all Work
     hereunder, including interim or in process Work and finished Work, and (b) all patents,
     copyrights, trade secrets, and other proprietary rights in or based on the images,
     film/files, text, data, or similar ami-materials that the Customer provides to
     Quad/Graphics. However, the foregoing shall not be construed to limit the lien granted to
     Quad/Graphics by Section 6 of this Agreement, or Quad/Graphics' ability to enforce said
     lien.

     All mechanicals, paper, film, plates, etc., not supplied by Customer but used to perform
     the Work hereunder shall be and remain the exclusive property of Quad/Graphics unless
     otherwise agreed in writing.

     Quad/Graphics agrees that it shall acquire no right, title or interest in the name,
     trademarks, logos, service marks, or other proprietary property of Customer except such
     as may be authorized pursuant to the performance of the Work under this Agreement.
     Should any court issue a judgment holding that Quad/Graphics has acquired any right,
     title or interest in any of the above-named proprietary property of Customer, except as
     provided in this Agreement, Quad/Graphics hereby agrees to immediately convey the
     same to Customer, and further agrees that the promises contained in this Agreement are
     good and sufficient consideration for such conveyance.

     16. Bankruptcy
     If either party hereto shall be adjudicated bankrupt, or an order appointing a receiver for a
     substantial part of its asserts or business shall be made, or any order shall be made
     approving a petition or answer seeking its reorganization under any applicable
     bankruptcy law, or it shall make any assignment for the benefit of creditors then, in any
     such event, the other party to this Agreement shall have the option to immediately
     terminate this Agreement by giving written notice of its intention to do so. Any
     termination of this Agreement made pursuant to the provisions of this section shall not
     relieve either party from any accrued obligations hereunder due or owing at the date of
     such termination.

     17. Storage
     A.     Final Files (as herein defined) will be stored without charge for a period of thirty
     (30) days from the time of last use unless otherwise specified (i.e. ARM clients). For
     purposes of this Agreement, Final Files refers to the file format used to create plate(s)
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      and/or cylinder(s). Intermediate digital data will be deleted as production is completed or
      as dictated by archiving agreements and pricing. Intermediate digital data is defined as
      Customer-supplied files that are used to create Final Files; Intermediate digital data
      includes, but is not limited to, Quark documents, Illustrator files, Fonts, EPS, Tiffs,
      PDF's, and LW/CT.

      B.     Unless otherwise directed, finished Work produced by Quad/Graphics, in an
     amount not to exceed 15,000 copies, will be stored without charge for up to six months
     after date of receipt into Quad/Graphics' inventory. Inserts and other semifinished Work
     will be stored without charge for up to sixty (60) days after date of receipt into
     Quad/Graphics' inventory, provided, however, that Quad/Graphics will store annual
     election ballots without charge for a period of 120 days after the date of the annual
     membership meeting of the Customer. During such respective storage periods,
     Quad/Graphics will request disposition instructions from Customer. At Customer's
     option, upon expiration of the applicable storage period, finished and semi-finished Work
     will be either (a) destroyed, (b) shipped at Customer's expense to a storage and/or
     warehousing facility designated by Customer, or (c) stored at Quad/Graphics at
     Quad/Graphics' prevailing storage rates. If Quad/Graphics does not receive written
     instructions from Customer, Quad/Graphics shall continue to hold the aforementioned
     materials in storage at Quad/Graphics' rates as listed in Schedule C-1.

     C.      On an ongoing basis Quad/Graphics will store up to 2,300,000 pounds of
     Customer-furnished paper without charge. Paper storage will be reviewed as of the last
     day of each month and paper in excess of 2,300,000 pounds will be charged for storage at
     the rate as listed in schedule C-1. Quad/Graphics reserves the right to review the storage
     allowance after eight (8) issues and to propose to Customer a change to the storage
     allowance based upon that review.

     18. Performance
     Quad/Graphics represents that the Work will be produced with good workmanship in
     accordance with the terms of this Agreement and standards acceptable in the printing
     industry, but no other express or implied warranty, including fitness for a particular
     purpose and/or merchantability, is made with respect to the Work. Because of differences
     in equipment and processes, and reasonable manufacturing variances due to normal
     production operations which are established by trade customs generally accepted in the
     printing industry, delivery of Work which results in a reasonable variation in color
     between proofs and the completed job, or other similar manufacturing variances, which
     are reasonable under the generally accepted trade customs in the printing industry, shall
     constitute acceptable delivery.

     19. Contingencies
     A.      Neither party shall be liable for delays in performance or failure of performance
     to the extent prevented or caused by force majeure events. Force majeure events are
     defined as acts of God, fires, floods, earthquakes, tornadoes, explosions, embargoes,
     wars, riots, acts of public enemy, terrorism or civil disobedience, governmental acts and
     regulations, inability to obtain materials, energy or carrier space, delays of carriers or
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      suppliers, provided any such event is beyond the reasonable control of the affected party.
      In the event of a force majeure event, the party claiming such event shall give reasonable
      notice to the other party. Quad/Graphics shall use commercially reasonable efforts to
      move the Work or any part thereof to one or more of Quad/Graphics' other plants due to
      a force majeure event. Customer shall have the right to place any part of the Work
      hereunder with another printer for the duration of the period that Quad/Graphics does not
      move such Work in accordance with the preceding sentence. If Quad/Graphics cannot
      fully resume the Work at any of its plants within sixty (60) days, then Customer shall
      have the right to terminate this Agreement immediately upon written notice.

      B.      In the event that Customer places any part of the Work with another printer in
      accordance with Paragraph (A), above, Customer shall have the right, provided no
      amounts due by Customer to Quad/Graphics are past due, to remove from Quad/Graphics
      plant any and all proofs, film, and other materials required by the other printer to
      complete the Work. In the event that Customer terminates this Agreement in accordance
      with the preceding paragraph, Customer will have the right to remove from
      Quad/Graphics' plant any and all Work (whether or not completed), proofs, film and
      other materials upon payment to Quad/Graphics for all Work and materials furnished or
      ordered by Quad/Graphics as of the date of the Customer's written notice to
      Quad/Graphics.

     20. Indemnity by Quad/Graphics
     A.       Quad/Graphics hereby agrees to indemnify, defend and hold harmless Customer,
     its directors, officers, agents, servants and employees, from and against any and all
     losses, damages, costs (including reasonable attorneys' fees and all court costs),
     liabilities, claims, causes of action, or judgments (collectively, "Claims") (but not
     consequential damages other than consequential damages finally awarded to a third party
     hereunder) that Customer may suffer or incur in the event of a Claim made against
     Customer by any person, firm, corporation or other entity, not due to the sole negligence
     of Customer, to the extent arising from or as a result of any negligent act or omission of
     Quad/Graphics in performing hereunder, provided, however, that Quad/Graphics will not
     be liable to Customer for Claims for which Customer has agreed to indemnify
     Quad/Graphics pursuant to Section 12.

     B.      Quad/Graphics shall defend, at its sole cost and expense, all Claims subject to
     paragraph (A) with attorneys reasonably acceptable to Customer. In all events, Customer
     shall have the right to participate in the defense of any such Claims through counsel of its
     own choosing and at its own expense.

     21. Remedy; Limitation of Liability
     A.    EXCEPT WITH RESPECT TO INDEMNIFICATION OBLIGATIONS
     HEREUNDER, NEITHER PARTY SHALL BE LIABLE TO THE OTHER FOR
     SPECIAL, CONSEQUENTIAL OR INCIDENTAL DAMAGES.

     B.      Freight claims or claims for defective, damaged or undelivered goods against any
     carrier for transportation of such goods must be made by Customer against the carrier,
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      but Quad/Graphics will assist Customer in Customer's pursuit of any such claim.

      C.      All claims for a breach of the representations contained in Section 18 must be
      made by Customer in writing within forty-five (45) days after Quad/Graphics' shipment
      of the affected Work. Failure to make such a claim within such period shall constitute an
      irrevocable acceptance of such goods and an admission that the affected Work fully
      complies with all of the terms and conditions of this Agreement.

     D.       In the event of a material breach of Section 18 by Quad/Graphics, Customer and
     Quad/Graphics will negotiate in good faith to reach a mutual agreement on a
     commercially reasonable sales credit or other reasonable remedy taking into account the
     nature of the breach and other relevant factors. Quad/Graphics' liability for a breach of
     Section 18 shall be limited to: Quad/Graphics' price to Customer for printing; and, if
     Quad/Graphics supplied the paper, Quad/Graphics' price to Customer for the paper, or, if
     Customer supplied the paper, Customer's replacement price for the paper, for the page(s)
     or fraction thereof involved; or Quad/Graphics' and Customer's mutual agreement for
     replacing the defective materials. This provision states the sole liability of
     Quad/Graphics and the sole remedy of Customer in the event of a breach of Section 18.
     The payment by Quad/Graphics of the sales credit or other remedy will cure the related
     breach.

     E.      Notwithstanding any other provision of this Agreement to the contrary, except
     with respect to indemnification obligations, the liability of Quad/Graphics arising out of
     or related to this Agreement, whether due to Quad/Graphics' negligence, breach of
     contract, breach of warranty (other than those contained in Section 18) or any other claim
     at law or equity, will not exceed Quad/Graphics' invoiced price allocable to the specific
     portion of the Work that gives rise to liability.

     22. Notices
     All notices required or permitted under this Agreement will be in writing and must be
     delivered by certified or registered mail, return receipt requested, by overnight carrier, by
     electronic mail or by facsimile transmission addressed to either party at its address set
     forth below or to such other address, electronic mail address or facsimile number as may
     be directed in writing by the party in question from time to time.

     23. Confidentiality
     A.      Quad/Graphics shall not disclose, directly or indirectly, to any third party any of
     Customer's subscriber lists (including lists or tapes of subscribers and any listing or
     compilation of subscribers provided to Quad/Graphics), membership data, any materials
     or information relating thereto, or any other non-public data, materials or information
     concerning Customer's business coming to the knowledge of Quad/Graphics, supplied to
     Quad/Graphics by Customer, or otherwise made known to Quad/Graphics as a result of
     Quad/Graphics' performance of the Work (hereinafter, collectively, referred to as the
     "Confidential Information"), without the prior express written permission of Customer.
     Confidential Information shall not include information that (I) is publicly available or
     becomes publicly available other than as a result of any act or omission of Quad/Graphics
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      or its agents, employees or contractors; (ii) was in the possession of Quad/Graphics prior
      to disclosure by Customer, provided that Quad/Graphics received such information on a
      non-confidential basis from a source that had the legal right to make such disclosure; or
      (iii) is legally disclosed to Quad/Graphics by a third party that owes no obligation of
      confidentiality to Customer.

      B.      Quad/Graphics may use Confidential Information only for the limited purpose of
      pe1forming the Work. Quad/Graphics may disclose such Confidential Information to
      Quad/Graphics' employees but only on a need-to-know basis and only to the extent
      necessary to perform the Work. Quad/Graphics warrants and agrees to prevent disclosure
      of Confidential Information by its employees, agents, successors, assigns and
      subcontractors. Quad/Graphics, its employees, officers, directors, contractors and agents
      shall comply with any and all commercially reasonable security arrangements imposed
      by Customer respecting access to Confidential Information.

      C.     Quad/Graphics may disclose Confidential Information that is required to be
      disclosed by law, provided that Quad/Graphics gives the Customer notice of such legally
      required disclosure promptly after becoming aware of such requirement and cooperates
      with Customer in taking steps to protect the confidentiality of such information.

     D.       Quad/Graphics acknowledges Customer's exclusive right, title and interest in the
     Confidential Information, and will not at any time do or cause to be done any act or thing
     contesting or in any way impairing or tending to impair any part of such right, title or
     interest.

     E.      Quad/Graphics shall cease and desist from any and all use of the Confidential
     Information, and Quad/Graphics shall promptly return to Customer, in a manner
     satisfactory to Customer, any and all Confidential Information, upon request by
     Customer.

     24. Right to Terminate
     A.       If either party commits a material breach of any material term, covenant or
     promise in this agreement, then the other party may give written notice of said breach to
     the first party. If the first party does not cure said breach within thirty (30) days, then the
     second party may, at its discretion, terminate this Agreement immediately upon written
     notice. However, Customer's good-faith dispute of any invoice shall not be grounds for
     termination.

     B.     This agreement may be terminated by either party if Customer should
     permanently (for the Term hereof and six (6) months thereafter) discontinue the
     Publications specified in Schedule A.

     C.     Upon the expiration or termination of this Agreement:

            1.      Quad/Graphics shall immediately return to the Customer to such place and
            in such manner as Customer may specify, any and all Confidential Information,
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             maintained by Quad/Graphics relating to or arising from the Work that is the
             subject of this Agreement, and any and all of Customer's other property,
             materials, documents, confidential information, etc., that may be in
             Quad/Graphics' possession.

             2.      Customer shall pay all amounts due to Quad/Graphics that Customer does
             not, in good faith, contest or claim a setoff against, within thirty (30) days after
             the final invoice for Work and/or materials has been received from
             Quad/Graphics.

      D.      The hold harmless and indemnification obligations and the confidentiality
      obligations provided for in this Agreement, shall survive any expiration or termination of
      this Agreement.

     25. Discontinuing Publication
     In the event a Publication is discontinued during the Term hereof, Customer shall notify
      Quad/Graphics not less than thirty (30) days prior to the date of proposed discontinuance
      and Customer's obligations to Quad/Graphics hereunder with respect to the Publication
     so discontinued shall cease, except to pay for: (1) Work-in-process up to the later of the
     date the notice is received or the date specified in the notice, (2) Work completed up to
      the later of the date the notice is received or the date specified in the notice but not bHled,
     (3) materials (other than paper) ordered at Customer's direction before the later of the
     date the notice is received or the date specified in the notice and (4) paper ordered on
     Customer's behalf for which the last day to change the order with the applicable paper
     mill has passed prior to Quad/Graphics' receipt of Customer's notice, and except with
     respect to any provisions of this Agreement that explicitly survive its expiration or
     termination. Provided, however, that in the event of the discontinuance of a Publication,
     this Agreement shall terminate only with respect to the Publication discontinued, and
     Customer and Quad/Graphics shall have no further obligations as aforesaid only with
     respect to the discontinued Publication. As used herein, the term "discontinuance" shall
     be deemed to mean a total, permanent cessation (through the Term and any renewal of
     this Agreement and six (6) months thereafter only) by Customer, or any assignee,
     licensee, or corporate affiliate of Customer, of publishing the Publication. If Customer,
     or any assignee, licensee or corporate affiliate of Customer should thereafter resume
     publication of the Publication at any time during the Term of this Agreement (or any
     renewal hereof), Quad/Graphics shall have the right and obligation (subject to availability
     of equipment and materials) to print the Publication under all of the terms and conditions
     of this Agreement. For the purposes of this Agreement, the term "corporate affiliate"
     shall mean any other person or entity which, directly or indirectly, controls or is
     controlled by, or is under common control with, Customer.

     26. Entire Agreement
     Upon execution of this Agreement by both the parties it, as it may be amended from time
     to time, together with all schedules now and hereafter attached and made a part hereof,
     shall constitute the entire agreement between the parties and shall supersede all other
     written or oral communications, drafts and representations between the parties hereto
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      with respect to the subject matter of the Agreement including, without limitation, the
      Confidentiality Agreement between Quad/Graphics and Customer dated on or about May
      23, 2005.

      27. Amendment
      This Agreement and the schedules made a part hereof will not be amended or altered in
      any manner unless such amendment or alteration is in writing and signed on behalf of the
      parties by their duly authorized representatives. All orders and instructions pursuant to
      this Agreement, and all changes thereto, shall be in writing and shall be delivered by one
      or more of the means provided in Section 22, above.

      28. Choice of Law and Choice of Jurisdiction
      A.     This Agreement will be construed and the rights of the parties hereunder will be
      governed by the laws of the Commonwealth of Virginia.

     B.      All legal proceedings relating to the subject matter of this Agreement shall be
     maintained exclusively in the state or federal courts sitting within the City of Alexandria
     or the County of Fairfax, Commonwealth of Virginia, and the parties hereby consent and
     agree that jurisdiction and venue for such proceedings shall lie exclusively with such
     courts.

     C.       The parties waive personal service of any process and consent to service by
     certified mail, return receipt requested, directed to the parties at the addresses set forth on
     the final page of this Agreement. Such service in the case of Customer shall be addressed
     to the attention of its General Counsel. Service so made shall be deemed made three days
     after it has been mailed.

     29. Assignment
     The rights and obligations of this Agreement shall inure to the benefit of and be binding
     upon the parties hereto and their respective successors and assigns; provided, however,
     that no party may assign, transfer or hypothecate any rights or obligations hereunder, in
     whole or in part, whether by sale of assets, operation of law or otherwise, without the
     prior written consent of the other party, which shall not be unreasonably withheld. If
     Quad/Graphics consents to an assignment by Customer, Quad/Graphics shall require that
     the assignee and Customer execute an assignment and assumption agreement that is
     satisfactory to Quad/Graphics.

     30. Relationship of the Parties
     A.       Nothing in this Agreement or in the performance thereof shall be construed to
     create an employer-employee relationship, partnership, sales agency, dealership, joint
     venture or joint employer relationship between the Customer and Quad/Graphics or
     between Customer and any agent, servant, employee, contractor or subcontractor of
     Quad/Graphics. There is no relationship between the parties hereto except as provided
     for in this Agreement. Except as expressly set forth herein, with respect to the production
     of the Work, nothing shall be construed as to authorize either party to obligate the other
     in any manner.
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      B.      Quad/Graphics has no authority to enter into any contracts on Customer's behalf
      nor to pledge, bind or obligate Customer in any manner or for any purpose to any third
      party.

     C.      Quad/Graphics shall pay all costs and expenses in conducting its own business
     and in undertaking any of the Work, services, or activities contemplated under or related
     to this Agreement, except as otherwise set forth in this Agreement including the Price
     Schedule attached hereto.

     D.      No individual whose compensation for services is paid by Quad/Graphics is in
     any way, directly, indirectly, expressly, or by implication, employed by Customer. Nor
     shall any of them be deemed to be employed by Customer for the purpose of any federal,
     state, or local law, regulation, or ordinance whatsoever, including, but not limited to any
     tax or withholding of contributions levied by the Social Security Act or any state law
     with respect to employment, unemployment, disability or compensation for employment.
     Quad/Graphics accepts exclusive liability for any payroll taxes, income taxes,
     withholdings, or contributions imposed by the federal Social Security act or any state law
     with respect to Quad/Graphics or any individual whose services are paid for by
     Quad/Graphics.

     E.      Except as otherwise provided for in this Agreement, and other than taxes levied
     solely upon the net income of Customer, Customer shall not be responsible for the
     payment of any taxes, fees or charges now or hereinafter imposed by any public
     authorities with respect to the Work, services and/or any of the activities related to the
     Work or this Agreement. Quad/Graphics shall make all reports required by any public
     authorities with respect to the Work, services and/or any of the activities related to the
     Work or this Agreement.

     31. Non-Exclusive
     It is expressly understood and agreed that, other than the Work described in Schedule A
     for the Term of this Agreement, this Agreement is non-exclusive and Customer may enter
     into agreements with other parties for the same or similar services for other publications
     or work.

     32. Survival of Certain Matters
     Any matter arising under this Agreement that creates a right of action in either party
     against the other party, or the enforcement of any obligation or undertaking by one party
     against the other, shall survive any expiration or termination of this Agreement.

     33. Copier Leasing
     Quad/Graphics agrees to, during the Term of this Agreement, lease on behalf of
     Customer two high quality color copiers which will be used to produce color proofs for
     the Work hereunder, up to a maximum of 5,000 copies per copier per month. Any copies
     in excess of 5,000 per copier per month shall be billed to Customer by Quad/Graphics, at
     a rate not to exceed 9,9 cents ($0.099) per copy. In the event that one or more such
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      copiers needs to be replaced during the Term of this Agreement, Quad/Graphics shall
      lease a replacement copier, capable of producing color proofs of equal quality, to be used
      for the Work. Customer shall be responsible for any damage to such copiers while in
      Customer's possession.


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      IN WITNESS WHEREOF, the parties hereto caused this Agreement to be executed by
      their respective duly authorized representatives as of the following date and year,
      effective on the date previously set forth in this Agreement.



                                         National Rifle Association of America
                                         11250 Waples Mill Road
                                         Fairfax, Virginia 22030


                                                  {ftlf:k~~
                                         Quad/Graphics, Inc.
                                         N63W23075 Highway 74
                                         Sussex, Wisconsin 53089



     Witness~          0.~/4             ~i:e~~
     Dated:      I I /J.t, /2... ~                2005
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                            National Rifle Association - Quad/Graphics, Inc.
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                                               SCHEDULE A - Description of Work
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   America's First Freedom Job Specifications
  Trim Size:     7-5/8" X 10-1/2"

  Frequency:    Monthly


  Pages:        Page count:64-80 pages 4/C full bleed
                Covers are 4 pages


  Quantity:     450,000

  Prepress:     Customer supplied flies - Kodak and Epson proofs
                Please refer to Price Ust for a detailed cost for supplied Native Application, lndesign files and
                PDF files.

  Paper:        Customer supplied paper:
                Cover-80#
                Text- 40#


  Press:        Offset: Four colors throughout


  Ink:          All inks meet SWOP standards


  Binding:      All pages gathered in the proper sequence and saddle wire bound


  Inserts:      Customer supplied


  Addressing:   All books to be inkjet addressed and mailed as Non-Profit Periodical mail
                Inside inkjet messaging is available. Availability of 16 different locations with 128 lines of
                inkjet.


  Location:     The Rock, Georgia




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  American Hunter Job Specifications
  Trim Size:    7-5/8" X 10-1/2"


  Frequency:    Monthly


  Pages:        Page count:84-120 pages 4/C full bleed
                Covers are 4 pages


  Quantity:     1,000,000


  Preress:      Customer supplied files - Kodak and Epson proofs
                Please refer to Price Ust for a detailed cost for supplied Native Application, InDesign files and PDF
                files.

  Paper.        Custorner supplied paper:
                Cover- 80#
                Text-40#


  Press:        Offset: Four colors throughout


  Ink:          All inks meet SWOP standards


  Binding:      All pages gathered in the proper sequence and saddle wire bound


  Inserts:      Customer supplied


  Addressing:   All books to be inkjet addressed and mailed as Non-Profit Periodical mail
                lnside inkjet messaging is available. Availability of 16 different locations with 128 lines of
                inkjet.


  Location:     The Rock, Georgia




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   American Rifleman Job Specifications
  Trim Size:     7-5/8" X 10-1/2"

  Frequency:     Monthly


  Pages:         Page count: 84-120 pages 4/C full bleed
                Covers are 4 pages


  Quantity:      1,400,000


  Preress:      Customer supplied files - Kodak and Epson proofs
                Please refer to Price List for a detailed cost for supplied Native Application, lndesign files and
                PDF files.

  Paper.        Customer supplied paper:
                Cover- 80#
                 Text-40#


  Press:        Offset: Four colors throughout

  Ink:          All inks meet SWOP standards

  Binding:      All pages gathered in the proper sequence and saddle wire bound

  Inserts:      Customer supplied


  Addressing:   All books to be inkjet addressed and mailed as Non-Profit Periodical mail
                Inside inkjet messaging is available. Availability of 16 different locations with 128 lines of
                inkjet.


  Location:     The Rock, Georgia




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   Woman's Outlook Job Specifications
  Trim Size:     7-5/8" X 10-1/2"

  Frequency:    Monthly


  Pages:        Page count:64-72 pages 4/C full bleed
                Covers are 4 pages


  Quantity:     54,000


  Prepress:     Customer supplied files - Kodak and Epson proofs
                Please refer to Price list for a detailed cost for supplied Native Application, lndesign files, and
                PDFfiles.

  Paper:        Customer supplied paper:
                Cover-SO#
                Text-40#


  Press:        Offset: Four colors throughout


  Ink:          All inks meet SWOP standards

  Binding:      All pages gathered in the proper sequence and saddle wire bound


  Inserts:      Customer supplied


  Addressing:   All books to be inkjet addressed and mailed as Non-Profit Periodical mail
                Inside inkjet messaging is available. Availability of 16 different locations with 128 lines of
                inkjet.


  Location:     The Rock, Georgia




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                                       SCHEDULE B - Preparatory Price Schedule




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 Preparatory Estimate
 Pricing
 Base 4/c page includes processing of supplied Vector PDF file, output of one continuous tone proof
 and DBL for page approval.



 Process multiple colors (Native Application)                                         $70.00     per page
 Process multiple colors (PDF or Postscript)                                          $55.00     per page
 Process multiple colors (SmartCreate PDF)                                            $50.00     per page

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 Process multiple colors (Native Application)                                         $80.00     per page
 Process multiple colors (PDF or Postscript)                                          $65.00     per page
 Process multiple colors (SmartCreate PDF)                                            $60.00     per page

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 Process multiple colors (Native Application)                                        $120.00     per page
 Process multiple colors (PDF or Postscript)                                          $95.00     per page
 Process multiple colors (SmartCreate PDF)                                            $90.00     per page

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 Process multiple colors (Native Application)                                        $140.00     perpage
 Process multiple colors (PDF or Postscript)                                         $120.00     per page
 Process multiple colors (SmartCreate PDF)                                           $115.00     per page




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 Preparatory Estimate (continued)

 Price List


      274         Color separation - Includes 1 Random Proof            $50.00 per image
      372         Convert image - Includes 1 Random Proof               $35.00 per image


      405         Partial or simple silhouette                          $20.00
      406         Regular silhouette                                    $40.00
      409         Complex silhouette                                   $125.00 per hour*


      337         Create 1/C drop shadow                                $25.00
      338         Create complex drop shadow                           $125.00 per hour*


     411          Retrieve page or image                                $10.00
     426          Archive image                                         $10.00 per image
     046          Place image                                            $5.00 per image
     453          Download                                             $250.00 per issue

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     132          Process multiple colors {Native Application)          $55.00   per page
     132          Process multiple colors (PDF or Postscript)           $45.00   per page
     132          Process multiple colors (SmartCreate PDF)             $40.00   per page
     133          Process single color                                  $15.00   per page


     496          Electronic system time                               $125.00 per hour•


     221          Color position proof                                   $5.00   per page
     078          Continuous tone proof                                 $25.00   per page
     215          Kodak Approval                                        $50.00   per page

• this per hour rate isl based in 1/4hour increments.




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                                  SCHEDULE C-1 - Manufacturing Price Schedule
                                                     and Paper Requirements




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                                         NATIONAL RIFLE ASSOCIATION
                                                      7 5/8" x 10 1 /2" Book Size

OFFSET PRESSWORK                                                     Presswork Rates                  80# Basis Weight Requirements
                 ( 2 x 4 ) Press format Cover Forms             Makeready        Run per M      Makeready       Run per M         Roll Size
   4 Page 4/color ( as 4's )                                      $1,340.00            $3.50          814#          31.26#            31.750"
   4 Page 5/color ( as 4's )                                      $1,600.00            $3.75        1,047#          31.40#            31. 750"
     Plate change / Press stop, each                                $130.00                            87#                            31.750"
   6 Page gatefold 4/color ( as 6's )                             $1,940.00             $8.00         742#           44.71#           22.500"
   6 Page gatefold 5/color ( as 6's)                              $2,300.00             $8.50         907#           44.92#           22.500"
       Plate change / Press stop, each                              $130.00                            62#                            22.500"

                                                                   Presswork Rates                   100# Basis Weight Requirements
                ( 2 x 4 ) Press Format Cover Forms             Makeready     Run per M          Makeready       Run per M      Roll Size
   4 Page 4/color ( as 4's)                                     $1,340.00          $3.50            1,064#          40.87#         31.750"
   4 Page 5/color ( as 4's )                                    $1,600.00          $3.75            1,369#          41.06#         31.750"
     Plate change / Press stop, each                                $130.00                            114#                          31.750"
   6 Page gatefold 4/color ( as 6's )                             $1,940.00             $8.00          970#          58.46#          22.500"
   6 Page gatefold 5/color ( as 6's )                             $2,300.00             $8.50       1, 185#          58.73#          22.500"
     Plate change / Press stop, each                                $130.00                            81#                           22.500"

                                                                     Presswork Rates                 38# Basis Weight Requirements
                ( 2 x 4 ) Press Format Body Forms              Makeready         Run per M      Makeready       Run per M         Roll Size
   4   Page 4/ color ( as 4's )                                 $1,340.00               $3.50         387#          14.81#           31.750"
   4   Page 5/color ( as 4's )                                  $1,600.00               $3.75         497#          14.92#           31.750"
   8   Page 4/color ( as B's)                                   $1,240.00               $6.50         382#          29.28#           31.375"
   8   Page 4/ color { as B's )                                 $2,200.00               $3.50         764#          29.28#           31.375"
   8 Page 5/color ( as B's )                                    $1,500.00               $7.00         491#          29.48#           31.375"
  16 Page 4/color ( as B's)                                     $1,240.00              $13.00         382#          58.55#           31.375"
  16 Page 4/ color ( as 16's )                                  $2,100.00               $6.50         764#          58.55#           31.375"
  16 Page 4/ color ( as 8's )                                   $2,200.00               $7.00         764#          58.55#           31.375"
  16 Page 5/color ( as B's )                                    $1,500.00              $14.00         491#          58.96#           31.375"
  32 Page 4/ color ( as 16's )                                  $2,100.00              $13.00         764#         117.10#           31.375"
     Plate change / Press stop, each                              $130.00                              41#                           31,375"
     Plate change / Press stop, each                              $130.00                              41#                           31.750"




 Page 1                                                   Quad I Graphics Inc.                                               July 26, 2005
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                                          NATIONAL RIFLE ASSOCIATION
                                                        7 5/8" x 10 1 /2" Book Size

                                                                       Presswork Rates                   381/ Basis Weight Requirements
                 ( 2 x 6 ) Press Format Body Forms                Makeready        Run perM        Makeready       Run per M         Roll Size
   12   Page 4/color ( as 12's )                                   $3,600.00             $4.00         1, 132#         43.35#             47.000"
   24   Page 4/color ( as 24's )                                   $3,400.00             $7.50         1, 132#         86.70#             47.000"
   24   Page 4/color ( as B's+ 16's)                               $3,600.00             $8.00         1,132#           86.701/           47.000"
   48   Page 4/color ( as 24's )                                   $3,400.00            $15.00         1, 132#         173.40#            47,000"
   48   Page 4/ color ( as B's + 16's )                            $3,600.00            $16.00         1, 132#         173.401/           47.000"
        Plate change / Press stop, each                              $175.00                              61#                             47.000"

                                                                       Presswork Rates                   38# Basis Weight Requirements
                 ( 2 x 8 ) Press Format Body Forms               Makeready         Run per M       Makeready       Run per M         Roll Size
    8Page 4/color ( as B's )                                        $2,200.00             $3.00        1,505#          28.82#             62.500"
   16Page 4/ color ( as 16's )                                      $2,100.00             $5.50        1,505#           57.651/           62.500"
   16Page 4/color ( as 8's )                                        $2,200.00             $6.00        1,505#           57.65#            62.500"
   32Page 4/co!or ( as 32's )                                       $2,000.00            $10.50        1,505#          115.291/           62.500"
   32Page 4/color ( as 16's)                                        $2,100.00            $11.00        1,5051/         115.291/           62.500"
   32Page 4/color ( as B's )                                        $2,200.00            $12.00        1,505#          115.29#           62.500"
  64 Page 4/color ( as 32's )                                       $4,000.00            $21.00        1,505#         230.59#            62.500"
  64 Page 4/color ( as 16's)                                        $4,200.00            $22.00        1,505#         230.59#            62.500"
        Plate change / Press stop, each                               $200.00                             81#                            62.500"


PRESS PREMIUMS                                                   Makeready         Run perM        Rate each
        Press paste ( per glue line required )                        $250.00             $0.50
        Edge slitting                                                 $250.00             $1.50
        Holding time, per hour                                                                        $585.00
        Holding time, per hour ( 2 x 6 format press )                                                 $750.00
        Holding time, per hour ( 2 x 8 format press )                                                 $830.00

                                                                   Coated                         SCA/ Offset
OFFSET INK                                                          stock                            stock
   1 Color black, per page, per M                                     $0.044                            $0.048
   1 Color process color, per page, per M                             $0.052                            $0.057
   4 Color black plus process colors, per page, per M                 $0.200                            $0.220
   1 PMS color, per page, per M                                       $0.160                            $0.176
   1 Metallic, per page, per M ( less than 20%)                       $0.480
   1 Gloss varnish, per page, per M                                   $0.560

                                                                      Presswork Rates                  100# Basis Weight Requirements
COVER COATING                                                    Makeready         Run per M      Makeready        Run per M        Ro!! Size
    Cover coating UV ( full web ) page 1 & 4                         $250.00             $10.00         3041/            •381/         31. 750"
    Cover coating UV ( full web ) one side of gate                   $250.00             $15.00         2161/            .541/         22.500"




 Page 2                                                     Quad / Graphics Inc.                                                July 26, 2005
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                                         NATIONAL RIFLE ASSOCIATION
                                                         7 5/8" x 10 1/2" Book Size

SADDLE STITCHING ( 1,500,000 books per stitcher makeready   )         Makeready         Run per M
      Base binder ( signatures / inserts additional )                      $250.00            $8.00
    4 page signatures / inserts                                             $35.00            $1.50
    6 page signatures / inserts                                             $35.00            $1.50
    8 page signatures / inserts                                             $35.00            $1.00
   12 page signatures / inserts                                             $35.00            $1.00
   16 page signatures / inserts                                             $35.00            $1.00
   24 page signatures / inserts                                             $35.00            $1.50
   32 page signatures / inserts                                             $35.00            $1.75


SADDLE STITCHING PREMIUMS                                             Makeready        Run perM          Rate each
      Pocket changes                                                                                          $35.00
      Blow-in cards ( standard size )                                       $35.00            $1.00
      Bind-in cards ( standard size )                                       $35.00            $1.00
      Reverse pocket insertion                                             $300.00            $3.00
      6 page gatefold cover                                                $200.00            $3.00
      Demographic insertion                                                $200.00            $3.00
      Printer pocket feeder                                               $100.00             $2.00
      Pre-trim inserts, as required                                        $75.00             $2.50
      Code only ink jet unit                                              $300.00             $6.00
      Apply supplied dot whack                                            $150.00             $3.00
      Handwork, per hour                                                                                      $50.00
      Handle supplied inserts I cards                                                         $0.30


SADDLE STITCHING MULTI-BINDING PREMIUMS                                Makeready         Run per M      Rate each
      Up to 20 pockets                                                                          $1.00
      21 to 24 pockets                                                                          $2.00
      25 to 28 pockets                                                                          $3.00
      29 to 32 pockets                                                                          $4.00
      33 to 36 pockets                                                                          $5.00
      37 to 40 pockets                                                                          $6.00
      All rates apply to the co-binding of different titles and will be invoiced in addition to demographic rates listed above.




 Page 3                                                         Quad I Graphics Inc.                                                 July 26, 2005
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                                        NATIONAL RIFLE ASSOCIATION
                                                         7 5/8" x 10 1 /2" Book Size

PERFECT BINDING ( 1,500,000 books per binder makeready   )           Makeready         Run per M
      Base binder ( signatures / inserts additional )                     $600.00           $20.00
    4 page signatures I inserts ( minimum 45# stock )                      $50.00            $2.00
    6 page signatures I inserts                                            $50.00            $1.50
    8 page signatures / inserts                                            $50.00            $1.50
   12 page signatures I inserts                                            $50.00            $1.50
   16 page signatures / inserts                                            $50.00            $1.50
   24 page signatures / inserts                                            $50.00            $2.00
   32 page signatures I inserts                                            $50.00            $2.25

PERFECT BINDING PREMIUMS                                             Makeready         Run per M        Rate each
      Pocket changes                                                                                         $50.00
      Blow-in cards ( standard size )                                     $50.00             $2.00
      Bind-in cards ( standard size )                                     $50.00             $2.00
      Reverse pocket insertion                                           $300.00             $3.00
      6 page gatefold cover                                              $200.00             $3.00
      Demographic insertion                                              $200.00             $3.00
      Printer pocket feeder                                              $100.00             $2.00
      Pre-trim inserts, as required                                       $75.00             $2.50
      Code only ink jet unit                                             $300.00             $6.00
      Apply supplied dot whack                                           $150.00             $3.00
      Handwork, per hour                                                                                     $50.00
      Handle supplied inserts / cards                                                        $0.30

PERFECT BINDING MULTI-BINDING PREMIUMS                                 Makeready         Run per M     Rate each
     Up to 20 pockets                                                                          $1.00
     21 to 24 pockets                                                                          $2.00
     25 to 28 pockets                                                                          $3.00
     29 to 32 pockets                                                                          $4.00
     33 to 36 pockets                                                                          $5.00
     37 to 40 pockets                                                                          $6.00
     All rates apply to the co-binding of different titles and will be invoiced in addition to demographic rates listed above.




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                                         NATIONAL RIFLE ASSOCIATION
                                                         7 5/8" x 10 1 /2" Book Size

IN-LINE MAILING                                                         Makeready        Run per M      Rate each
     Address cover                                                           $300.00           $9.00
     Portable ink jet unit, per unit                                         $300.00           $3.00
     List changes                                                                                            $50.00
     Wide bar upcharge                                                       $500.00           $8.00
     4th class mail premium ( 2 • 3 books per bundle )                                        $75.00
     4th class mail premium ( 4 • 5 books per bundle )                                        $40.00
     4th class mail premium ( 6 • 8 books per bundle )                                        $25.00
     International mailing premium                                           $300.00          $10.00
     Magnetic tape processing ( includes hygiene, presort & ink jet format J                   $2.15

OFF-LINE MAILING                                                      Makeready          Run perM       Rate each
     Backstarts setup                                                    $450.00              $15.50
     List changes                                                                                            $50.00
     Folders                                                                                                  $0.85
     Envelopes                                                                                                $0.35

POLYWRAPPING                                                          Makeready          Run per M      Rate each
     Wrap host book in clear film                                        $250.00              $30.00
     Standard onsert                                                      $50.00               $2.00
     Automatable poly film upcharge                                                            $8.50
     Printed poly film will be invoiced at cost +10%
     Maintain mail sortation                                               $300.00            $10.00
     Pocket changes                                                                                          $50.00

NEWSSTAND COSTS                                                       Makeready          Run per M      Rate each
     Shrinkwrap in bundles                                                                    $9.oo 1

PACKING                                                               Makeready          Run per M      Rate each
     Bulk cartons                                                                                             $1.85
     Order processing, per order                                                                             $10.00
     Bulk pack on skids                                                                                      $24.00
     Bulk pack on skids with sleeves                                                                         $30.00
     Shrinkwrap in bundles                                                                    $6.00

STORAGE                                                              Makeready           Run per M      Rate each
    Skid storage, per month after 60 days                                   $18.00
    Roll paper storage, over allowance, per cwt                                      1                       $0.451




 Page 5                                                         Quad I Graphics Inc.                                                July 26, 2005
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 e Q!Jac:IGraphics
 Company Name: NATIONAL RIFLE ASSOCIATION                                              Date: June 13, 2005

As an industry leader, Quad/Data Service understands data driven solutions that implement your marketing strategy.
Understanding the importance of data integrity, integration and data compliance allows process efficiencies and optimization of
cycle times.

*Based on 33 million annually




      Domestic Minimum *Applies when the total of all Q/DS services rendered does not equal the minimum            $ 400.00/INVOICE
      Media Load/Formatting *Please see Media Specification Sheets for media, formats & associated pricing.                         *
      Address Hygiene Includes: Address Std, Crrt coding, ZIP Correction, ZIP+4, DPBC, LOT & CASS.                         $ 1.00/M
      Additional Address Integrity services & pricing available upon request. (LOT,NCOA,DSF2,LACS, Data
      Anal sis
      Presort - Standard Mail                                                                                              $ 0.75/M
      Mail.dat *Quad/Graphics                                                                                                   N/C
      Domestic Inkjet Format                                                                                               $ 0.40/M



      Line of Travel                                                                                                       $ 0.45/M
      Merge Purge *Includes: DMA, Prison & Deceased Suppression upon request (Storage and restore of Multi-                $ 1.75/M
      Bu ers at No Char e
      De-Duping                                                                                                            $ 0.75/M
      Selects/Segmenting                                                                                                   $ 0.10/M
      Variable Coding (Keycoding OR Hard Coding OR Message Coding OR Version Coding)                                       $ 0.30/M
      Constant Coding (Version Codin OR Keycoding OR Hard Coding OR Message Coding)                                        $ 0.10/M




*The above pricing is for estimating purposes only and is subject to change upon .receipt of files.



A price list not accepted within 90 days is subject to requoting.
For additional information on services, options or pricing, please contact your Corporate Sales Representative or call Q/DS sales
at 414-566-3300
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                            National Rifle Association - Quad/Graphics, Inc.
                                                      Integrated Services Agreement



                                        SCHEDULE C-2 - Distribution Agreement




                                                         QyadGraphics            m,
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       National Rifle Association
       Integrated Services Agreement
       Schedule C-2 - Distribution Agreement



       Mail Pool Drop Ship Rates

      Customer will be assigned an entry point freight rate based upon each mail pool drop ship cycle loaded into
      Quad/Graphics' system.
      Quad Graphics drop ship rate for bagged or trayed mail: $6.15/cwt
      Quad/Graphics newsstand ship rate: $6.15/cwt

      The above rates are for our pooled / consolidated drop ship program; in addition to the foregoing, there is a
      $600 charge per mailstream. Drop shipments of mail outside of the normal schedule will be quoted a freight
      rate on an individual basis. If you should decide to withdraw from a mail pool cycle less than nine (9) days
      prior to the start ship date, then you will be billed for the greater of $2,500 or the actual freight cost.

      Fuel Surcharge

      Fuel surcharges are passed along in accordance with the following. The surcharge will apply to all pool
      shipped product and will be adjusted weekly. The national diesel fuel average price is updated every
      Monday and can be obtained at: http://www.eia.doe.gov

          Fuel Price
          Per Gallon                      Fuel Surcharge

          $1.20-$1.29                            1%
          $1.30 - $1.39                         2%
          $1.40-$1.49                           3%
          $1.50 - $1.59                         4%
          $1.60-$1.69                           5%
          $1.70- $1.79                          6%
          $1.80- $1.89                          7%
          $1.90 - $1.99                         8%
          $2,00 - $2.09                         9%
          $2.10 - $2.19                         10%
          Greater than $2.19                    Additional one percentage point for every $0.10 increase in
                                                Fuel Price Per Gallon

      Entry Point Levels

      Quad Graphics will drop ship mail to the levels available in our Standard List of Entry Points as of the date
      of this agreement.

      Third Party Distribution
      Guidelines and surcharges for any type of third party shipping/distribution will be provided upon request.




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                            National Rifle Association - Quad/Graphics, Inc.
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                                      SCHEDULE C-3 - Guidelines for Third Party
                                                  Logistics Company or Carrier




                                                          QyadGraphics           m
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     National Rifle Association
     Integrated Services Agreement
     Schedule C-3 -Guidelines for Third Party Logistics Company or Carrier

     To insure consistent, efficient and satisfactory distribution of product from all Quad/Graphics
     facilities, Quad/Graphics requires all clients follow the guidelines set forth below in the event a
     client should opt to contract with a third party logistics company or carrier (a company other than
     Quad/Graphics) to arrange the transportation of that client's product.

         A. Scheduled "Production Dates" published in a corporate schedule once a job has been
            booked for production at Quad/Graphics. Changes to the Production Dates should be
            requested by the client through the Quad Salesperson, or the Quad Customer Service
            Representative (CSR).

         B. Primary contact at Quad/Graphics for all mail distribution issues is the client's Post Press
            Service Representative (PSR).
            Primary contact for all other distribution issues is the client's Customer Service
            Representative (CSR). All communications, correspondence and required documentation
            should go through these contact people.

        C. For PSI freight, (5) business days prior to the first scheduled production date on press,
             the DISTRIBUTION PLAN, designating the quantity by VERSION and DESTINATION
             is required.

        D. Three (3) business days prior to the first Scheduled Production Date, the client and the
           client's third patty logistics company must deliver the following paperwork to
           Quad/Graphics:

                 FOR MAIL:
                     1. All mailing paperwork, and the load plan (showing each load and the
                          containers that must be on that load) must be provided by the client, and the
                          client's third party logistics company to Quad/Graphics, no later than the first
                          scheduled production date. This date is on the Quad/Graphics corporate
                          schedule and is also the date the inkjet files are due.
                     2. Bills of Lading
                     3. Estimated pick-up dates for each load (the date the load will be picked up
                          from Quad)
                     4. USPS Confirmation numbers (if Quad is to create the 8125s)
                     5. All correspondence referenced in sections C and D should be in the form of
                          Email. This is the preferred method of communication for all transpo1tation
                          matters between Quad/Graphics and the client's third party logistics
                          company.
                     6. All scheduled pick-ups will be determined as "late" after their Scheduled
                          Departure Date/Time.
            Any pick-up outside of this window may require that the carrier wait to be loaded during
            the next available time slot. Other loads scheduled to be loaded cannot be delayed for
            those that arrive outside their window. Additional charges may be applied depending on
            the effect of a change from the scheduled pick-up times.
            lfthe carrier is aware that they will not make their Scheduled Departure Date/Time, they
            should attempt to re-schedule their appointment prior to arriving at the facility.


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              FOR ALL OTHER TYPES OF FREIGHT:
                    1. All "load plans" for other product types should be given to the CSR, who
                        will enter it into the Quad/Graphics system.
                    2. Bills of Lading
                    3. Estimated pick-up dates for each load (the date the load will be picked up
                        from Quad)
                    4. All correspondence referenced in sections C and D should be in the form of
                        Email. This is the preferred method of communication for all transportation
                        matters between Quad/Graphics and the client's third party logistics
                        company.
             The CSR will give each Logistics company the usernames of the Quad/Graphics plant
             employees they need to correspond with.

                        5. All scheduled pick-ups will be determined as "late" after their Scheduled
                           Departure Date/Time.
             Any pick-up outside of this window may require that the carrier wait to be loaded during
             the next available time slot. Other loads scheduled to be loaded cannot be delayed for
             those that arrive outside their window. Additional charges may be applied depending on
             the effect of a change from the scheduled pick-up times.
             If the carrier is aware that they will not make their Scheduled Departure Date/Time, they
             should attempt to re-schedule their appointment prior to arriving at the facility.

     NOTE: The client and the client's third party logistics company must contact Quad/Graphics to
     re-schedule or change the final pick-up dates and times or any Load Plan adjustments, no later
     than one business day (24 hours) prior to the Scheduled Departure Date.

                 ***The dates, times and Load Plan presented in sections C and Dare firm and
                 necessary for accurate and timely loading of the product. If changes occur after these
                 final times, Quad/Graphics may apply additional charges due to increased production
                 and administrative labor necessary to accommodate the changes. ***

        E. Quad/Graphics will not be a consolidator of multiple issues or titles for the logistics
           company. Requests for Routing changes to include more than one job will be denied.

        F. Any third-party logistics provider or carrier you contract with or hire must both (1) be
           federally licensed as such; and (2) have insurance coverage of the types and minimum
           amounts set forth in federal statutes and regulations.

        H. Quad/Graphics will not be liable for any loss caused by damage of goods or delay of
           shipment, or for a failure by client or client's third party logistics company to comply
           with these guidelines.

        I.   Quad/Graphics will not be liable for any payments to be made to any third-party logistics
             provider or carrier with whom you contract or hire.

        J.   Third-party logistics providers or carriers should be provided a copy of these guidelines
             prior to them providing any services.




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                            National Rifle Association - Quad/Graphics, Inc.
                                                      Integrated Services Agreement



                                               SCHEDULE D - Paper Specifications




                                                          QyadGraphics            m.
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       National Rifle Association
       Integrated Services Agreement
       Schedule D - Paper Specifications Schedule
       Part I of II

       1. Quad/Graphics Furnished Paper
          A. Quad/Graphics will furnish the paper per Customer specifications in accordance with the price
             schedule. Paper prices are based on current published prices from mills and paper merchants.
             Delivery of paper is dependent upon the acceptance of the order by the mill. The final price will be
             that which prevails at the time of shipment from the mill, and the paper will be invoiced to the
             Customer at such final price plus two percent (2% ).

           B. If Quad/Graphics-furnished paper is delivered on steel cores, then Quad/Graphics will be
              responsible for any expense incurred for their return to the mill.

           C. Quad/Graphics will use its best efforts to assure an adequate supply of paper, but Quad/Graphics
              cannot guarantee the availability or price of equivalent grade paper as its supply is dependent upon
              conditions of supply and demand in the paper industry.

       2. Customer Furnished Paper
          A. Quad/Graphics will receive, handle and store paper as specified. Quad/Graphics will provide
             adequate storage space, a private railroad siding and truck platform to perform these services. Any
             excess amount of paper will be stored, subject to availability of on-site space. If on-site space is not
             available for the excess amount of paper, Quad/Graphics will assist Customer in arranging to store
             the paper at a public warehouse. Quad/Graphics assumes no liability for off-site storage of
             Customer's paper. All additional costs resulting from off-site storage, including but not limited to,
             demurrage, storage charges, extra loading, freight and drayage charges, additional in-plant
             transportation costs, additional transit damage and waste will be the responsibility of Customer.
             Paper in excess of amounts specified will be billed at prevailing storage rates.

          B. Quad/Graphics will provide a report of paper received for Customer's account within twenty-four
             (24) hours of its unloading. The report will list both gross received weight* and gross received
             weight less fiber cores (if any).

          C. Supplied paper received in a damaged condition as evidenced by gouges, crushed cores, and/or
             water damage will be reported to Customer upon discovery. Quad/Graphics will file a claim with
             the carrier and provide a copy of such claim and documentation to Customer; Customer is
             responsible for collecting such claim from the carrier.




      * Reference definitions on page 4 of this schedule.

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                                                                                             National Rifle Association
                                                                                       Integrated Services Agreement
                                                                             Schedule D- Paper Specifications Schedule

           D. Mill defects in paper supplied by Customer will be reported to Customer on its monthly inventory
              report. Quad/Graphics will file a claim with the paper mill and provide a copy of such claim and
              documentation to Customer; Customer is responsible for collecting such claim from the paper mill.

           E. Quad/Graphics will maintain a record of all paper received, paper used and damaged paper. An
              inventory report reflecting paper receipt, usage, and damage figures will be submitted to Customer
              following each printing.

           F. If there is overconsumption, then Quad/Graphics will replace the overconsumed pounds in kind.
              There will be no annual reconciliation of consumption and Quad/Graphics will not share in the
              value of any net underconsumption.

           G. Any calculation of consumption of Customer-furnished paper will be adjusted for damaged,
              defective or otherwise nonconforming paper delivered. Customer will be responsible for the actual
              basis weight of the paper received and used. The paper requirements apply to the described paper
              and will be adjusted proportionately to reflect any changes in roll width or basis weight. The paper
              consumption allowances are based on the net received weight* of the paper supplied.

               The paper requirements and production schedule submitted to you assume that Quad/Graphics
               will be receiving first-run paper that is backed by a guarantee of performance from the mill of
               manufacture; paper that is identified as being purchased on the secondary market, rather than
               the mill of manufacture, is considered to be seconds stock. Customer will be invoiced for any
               production down time or slowdowns resulting from the paper you furnish to us. Quad/Graphics
               will be responsible for paper consumption in excess of the required paper amounts, except for
               excess consumption of foreign, seconds or odd lot paper stocks.

          H. If Customer elects to furnish odd lot or seconds paper, then such paper must be suitable for use on
             high speed 4/color presses and all paper in a given shipment must originate from the same mill and
             have been produced from not more than two (2) mill runs. Excessive expense (lost time and
             materials) to Quad/Graphics, as a result of job lot or seconds paper, will be paid by Customer.

          I.   Quad/Graphics will maintain an ongoing cycle inventory of Customer's paper. Upon reasonable
               advance notice from Customer, Quad/Graphics will conduct a physical inventory of Customer's
               paper and furnish reports to Customer. Customer has the right to audit said inventory and will be
               given access, if necessary, to conduct its own physical inventory.

          J.   If the paper is supplied on iron cores, then those cores will remain the property of Customer. If not
               damaged so as to be unusable, then the cores will be loaded in cars and returned to the respective
               mills by Quad/Graphics at Customer's direction and expense.




      * Reference definitlons on the last page of Part I of this Schedule

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                                                                                       National Rifle Association
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                                                                       Schedule D- Paper Specifications Schedule


          K. All paper waste, both white and printed, whether bound or unbound, will become the property of
             Quad/Graphics.




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                                                                                          National Rifle Association
                                                                                    Integrated Services Agreement
                                                                          Schedule D- Paper Specifications Schedule

       3. Definitions
          A. Gross Received Weight:
             Includes all usable and unusable paper, core weight, wrappers and headers.

           B. Net Received Weight:
              Gross received weight less the weight of the core.

           C. Usable Paper:
              Net received weight less weight of paper damaged in transit.

          D. Paper through Press:
             Usable paper less inner and outer strip waste, wrappers and headers.

          E. Outer Strip Waste:
             White waste removed from the roll prior to running.

          F. Inner Strip Waste:
             White waste left on the core after roll is run.

          G. Basis Weight:
             The weight of 500 sheets, 25" x 38", of the specified paper. (500 sheets 24" x 36" if newsprint
             basis, 500 sheets 20" x 26" if "cover" basis.)

          H. Basis Weight Variance:
             The difference between the actual basis weight of paper received and the specified basis weight.

          I.   Paper Requirements:
               Amount of paper required to produce press forms as specified on the Paper Requirements Schedule.
               These requirements are based on "Net Received Weight" and allow for normal strip waste and
               standard waste allowances required to print and bind the specified press forms.




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   Roll Paper Supplier Specifications
   This document provides supplier specifications for roll   For Customer Supplied Paper
   paper received by Quad/Graphics, Inc                           • Customer acknowledgments should be faxed to
                                                                   the individual Quad facilities. Fax numbers and
   Order Acknowledgments                                            plant contacts are listed at the end of these
   For Paper Purchased by Quad/Graphics                            specifications. At a minimum, Quad prefers
        • Acknowledgments on all orders should be                   notification on:
          faxed to (414-566-9418), or emailed to                       •Customer Purchase Order
         Paper.Acknowledgement@qg.com, no later than
                                                                       · Mill Order#
         one business day after the buyer has placed the
                                                                       • Mill location
         order. The following information should be
         included in detail:                                           -Grade name
                                                                       • Basis weight (B25x38)
             ·Quad PO#
                                                                       -Web width
             •Mill Order#
                                                                       · Diameter(s)
             •CWT price
                                                                       • Manufacture date
             · Mill location
                                                                       •Total quantity ordered
             ·Grade name
                                                                       · Ship date
             • Basis weight (B25x38)
                                                                       • Press date
            ·Web width
                                                                       • Mode of transit
             · Diameter(s)
                                                                       •Core type and diameter
            · Manufacture date
                                                                       •Delivery date
            ·Quantity
                                                             This information will help Quad plan for future
            · Ship date
                                                             warehousing space requirements and placement.
            · Mode of transit
                                                                  • For all offset rolls, it is imperative that the
            • Planned freight cost
                                                                    customer supplies press type information to the
            · Core type and diameter                                paper mill, i.e., M3000 {2x6), M3000 (2x8), Ml 000
            • Last date of change                                   (2x4), M 110, MAN-Roland (4x6) etc This will be
            · Allocation month                                      used to determine the minimum and
                                                                    maximum outside diameters.
            · Delivery window
                                                             Quad/Graphics is in the process of implementing the
       • Quad Paper Purchasing will email the
                                                             papiNet Messaging Standards and will be requesting
         purchase order the same business day that the
                                                             that all Order Acknowledgements, whether for Quad
        order is placed with the paper supplier.
                                                             ordered paper or customer ordered paper, use the
       • Purchase orders wiil indicate press type.           papiNet Order Acknowledgement message.




  Version 2.0 1/05                                                                                             QyadGraphics         8.
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   Paper Specifications (continued)

   Roll Weights
            • Roll labels and manifests should list both gross,
             tare and net weights in pounds.

            • Tare weight includes core and core plugs.

            • All invoices should be based on net weights (i.e.,
             gross weight less tare).

   Roll Width
            • The exact roll width size is required + / - '/,, ".

  Roll Diameters

                                                                    --
                                                                                      Diameter---------     ··----·--
                                  Press                                  Core   Min     Ideal             Max           Max Weight
   Offset
            Up to 26.5" (Custom)                                          3"    40"      50"              50"           90# I Li near Inch*
            Over 26.5" and up to 38" (2x4)                                3"    45"      50 11
                                                                                                          50"           90# I Linear Inch*
            Over 38" and up to 57" (2x6)                                  3"    45"      50"              50"           5,000#
            Over 57" and up to 72" (2x8)                                  3"    45"      50"              50"           8,200#
   Gravure
            Lomira - up to 96"                                            3"    45"      50"              50"           7,000#
            West Virginia/Oklahoma City
  --.~···
                Upto96"                                                   3"    45"      50"              50"           8,80q#
                Over 96" and up to 108"                                   611   45"      50"              50"           10,100#


  * For example: 30" Ro// cannot exceed 2 700#; 38" roll cannot
  exceed 3,420#.




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  Paper Specifications (continued)

  Over/Under Delivery Specifications                           Purchased Paper Claims
       • As of 2/1/2002, for Quad purchased paper, all
                                                               For Quad Purchased Papers
        over shipments on orders greater than 44,000
                                                                   • Notification of transit claims will be filed directly
        lbs." will result in a rejection of the over shipped
                                                                     with the originating paper mill. In the cases
        roll(s).
                                                                    where paper was shipped from another printer,
                                                                    claim documentation will be forwarded to the
          For orders between:        Tolerance
          2,000 to 4,999 lbs.        +or - 20%                      papers' owner. Resolution of the claim is then
          5,000 to 9,999 lbs.        +or-10%                        the responsibility of the owner.
          10,000 to 43,999 lbs.      +or- 5%                       • Notification of press claims will be filed directly
                                     Not more than to the
          44,000 lbs. or more                                       with the paper supplier. Quad will provide
                                     nearest roll under
                                                                    evidence of damages.
   * Once a shipment becomes greater than a truckload
                                                                   • Claims are to be resolved within 21 calendar
                                                                    days from the file date. If no dispute arises and a
  Basis Weight Tolerance                                            claim remains unpaid on day 21,Quad/Graphics
       • Overweight paper is not desirable.The target               will debit the mill and reference the claim
        should be from nominal to .25 percent light.                number.
        The average basis weight should be as close as
                                                                   • Disputed claims that remain unresolved after 21
        possible to nominal basis weight.
                                                                    calendar days will be forwarded to
  For Quad Purchased Paper                                          Quad/Graphics' Paper Purchasing department
       • Quad will audit basis weight once per quarter              for resolution.
        on an aggregate basis.                                    • No time limit exists for Quad discovering
            • If the average is overweight, Quad may               concealed water damage. We will do our best
              debit the mill and provide documentation.            to report cases as they are discovered.
           • If the average is underweight, the mill will
             receive credit for the following quarter.         For Customer Supplied Paper
                                                                  • Press production claims will be filed directly
           • At the end of the calendar year, any mill
                                                                   with the customer. Reimbursement from the
            credits will be zeroed out
                                                                   paper supplier will be the Customer's
      • Quad's basis weight variance calculation will be
                                                                   responsibility.
       used in verifying average basis weights. Quad's
       calculations will supersede mill figures.Quad           Shipping Records
       compares actual impressions to theoretical                 • In order to help ensure that paper is received ln
       impressions based upon stated roll weight, basis            a timely manner, as it is shipped, or before, we
       weight and width of roll. If the actual                     ask that the paper mill send Quad/Graphics a
       impressions are less than the theoretical                   copy of the shipment manifest by electronic
       impressions that have been calculated, the                  transmission prepared and transmitted in
       paper is considered heavy.                                  accordance with the pa pi Net Delivery Message
      • Quad reserves the right to hold the supplier               standard. Roll size and weight information
       responsible for individual orders.                          should be specified in inches and pounds.




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  Paper Specifications (continued)

  Transportation                                               • When the carrier calls for an appointment, they
       • Whether paper is shipped via rail or truck, the         will be given an appointment number. This
         following equipment and loading requirements            number will be needed for off loading of roll
         must be met for the paper to arrive in good             stock,and will expedite unloading.
         condition. We expect adherence to the
         requirements, as they will minimize claims         Delivery Timing
        among other mutually beneficial outcomes.              • Due dates for all deliveries will be noted on
                                                                 Quad/Graphics Purchase Orders, or to the
       • Quad/Graphics prefers shipments to arrive via           customer on,customer-supplied paper.
         railcar.                                                Deliveries are to be made seven days prior to
                                                                 press. However, deliveries arriving two days
  Rail Car Loading                                              earlier (nine days prior to press) or two days
       • Quad/Graphics prefers railcars with 8 feet or
                                                                later (five days prior to press) are acceptable.
         wider doors and with cushioned underframe.
                                                                 Deliveries which arrive five or more calendar
      • Do not bilge load. Load all rolls on end, unless        days early may be subject to prevailing
        prior approval for loading patterns is given by         Handling/Storage charges.
        the receiving department.
                                                               • Deliveries will be considered late if paper has
      • Load rolls of paper using the guidelines                 not arrived on or before the specified due date.
       prescribed in the Association of American
                                                               • Early delivery charges will not apply to orders
       Railroads Pamphlet 39,or other specific loading
                                                                 less than 45,000 pounds.
        and bracing methods, which have received
       approval of the American Railroads Freight and       Late Deliveries
       Damage Prevention Division.                             • Late deliveries will be reviewed by our
                                                                 Purchasing department and paper mills on a
  Truck Loading                                                 case-by-case basis.Deliveries will be considered
      • Container and truck/trailers are to have a
                                                                late if the paper mill fails to meet the mutually
        minimum door opening of 92 inches.
                                                                agreed upon delivery dates established by
      • Paper is received at all Quad/Graphics facilities       paper mill and communicated to our
        24 hours per day, 7 days per week, and most             Purchasing department at the time the order
       holidays, by appointment only.                           was acknowledged.

      • Appointments for each plant are to be made 48          • Deliveries may be refused if paper shipments
        hours in advance Monday through Friday, 7:00             are late and received after the job is off press, if
        AM through 5:00 PM. Truckloads may be                    no further identifiable use is found for the
        directed to other Quad facilities upon arrival.         paper.

      • Quad/Graphics will not be responsible for           Core Specifications
        reconsignment fees for distances of 10 miles or        • All cores are plain high strength fiber.
        less.
                                                               • Core type should be noted on EDI or packing
      • When calling for an appointment, the                     slip.
        PURCHASE ORDER is required to ensure delivery          • Core plugs are required on all rolls with a core
        to the correct facility, and to accommodate the          wall thickness of less than 0.660 inches.
        delivery due date, based on receiving paper 24         • If core wall thickness is greater than 0.660
        hours a day, 7 days a week.                              inches, core plugs will not be required.
                                                               • No metal end caps or notches.




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  Paper Specifications (continued)

       • Core width not to exceed paper width, and not            • There should be two labels (minimum) with all
         less than '/". inches less than paper width.              required information, attached to the roll
       • Three inch ID cores are required on all rolls less        wrapper by means of an adhesive backing.
         than or equal to 97 inches.                               Each label should have the following
       • 6 inch ID cores required on all rolls greater than        information:
         97inches.                                                     1) Grade name and type of paper.
  Mill Splices                                                         2) Basis weight and roll width.
       • No more than two mill splices per roll (any                   3) Gross weight, net and tare weight
         diameter).                                                       (Barcode preferred).
       • No more than 30 mill splices per 100 rolls.                   4) Mill name and mill order number
       • All mill splices must be clearly marked on roll                  (Barcode preferred).
         label and clearly marked on end of roll.                     5) Mill roll number (Barcode preferred).
       • No mill splices should be within 2 inches of                 6) Publisher name. When purchased by a
         each other.                                                     merchant, the merchant is required to
       • No mill splices can be less than 2 inches from                  furnish the Publisher's name/order
         outside.                                                        number to the mill.
       • No mill splices can be less than 5 inches from               7) Title and/or purchase order number.
         core.                                                        8) Direction of unwind and felt or wire side
                                                                        out.
  Web Break Performance
                                                                      9) Core type & Outside diameter
      • Allowance is three breaks per 10 million linear
        feet through the press.                                  • An additional third label may be placed on the
      • Quad may debit the following for all web breaks           topside of the roll.
        in excess of '/,omm linear feet for offset presses       • Quad/Graphics requests the number of mill
        and '"lw mm feet for gravure presses:
                                                                  splices stenciled on the roll label.
           · Gravure:            $1000
                                                                 • Roll size and Weight information should be in
           · M1000 (2x4):        $550
                                                                  inches and pounds.
           · M3000 (2x6):        $750
           • M3000 (2x8):        $900                         Roll Stenciling
           ·M110:                $550                            • Roll Number Stencils must be on at least one
           • Man Roland (2x6): $750                                end of the unwrapped roll, but we prefer that
                                                                  both ends be stenciled.
           • Man Roland (4x6): $750
      • Quad will provide all evidence claimed.                  • The size of the stencil and location must be as
      • Quad will make reasonable attempts to notify              close to the core as possible, and no more than
        mill technical personnel as problems arise.               10 inches from the core as not to interfere with
                                                                  auto paster detectors.
 Roll Labels
                                                                 • Please indicate the rail's unwind direction with
      • Quad/Graphics requires adherence to the
       IDEAlliance Guidelines for Paper Roll and                  an arrow on roll label.
       Package Labeling Specifications as set forth in
       IDEAlliance Standard 132-1997, and the North
       American Roll Identifier IDEAlliance Standard-
       1995.




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   Quad/Graphics Inc.
   Sussex, Wis.

   Plant Address:      N63 W23075 Highway 74
                       Sussex, WI 53089
   Ship To Address:
        Truck:         N63 W23075 Highway74
                       Sussex, WI 53089
                       Deliveries to dock doors 1 to 6
                       Phone:      (414) 566-2503
                       Fax:        (414) 566-9558


       Rail:           Canadian National
                       N63 W23075 Highway 74
                       Sussex, WI 53089

  Plant Contacts
       Paper Warehousing:                   Phone:       (414) 566-2503
                                            Fax:         (414) 566-9558


       Electronic Transmissions:            Phone:       (414) 566-6000
                                            Information Systems Department

  Transportation Instructions
  Sussex facility cannot receive short height containers - does not have the ability to unload shipment - inside
  height clearance must be at least 92 inches.

  Rail Carrier
  Canadian National

  Delivery Information
  Paper is received at Quad/Graphics-Sussex facility 24 hours per day, 7 days per week, and most holidays,
  By Appointment Only.

  Appointments for Sussex plant are to be made 48 hours in advance, Monday through Friday, 7:00 AM through 5:00
  PM,at (414) 566-2503. When the carrier calls for an appointment, they will be given an appointment number.This
  number will be needed for off loading of roll stock.

  When calling for an appointment, the PURCHASE ORDER is required to ensure delivery to the correct facility, and
 to accommodate delivery due date, based on receiving paper 24 hours a day, 7 days a week




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   Quad/Graphics Inc.
   Pewaukee, Wis.
   Plant Address:      N224 W3322 Duplainville Road
                       Pewaukee, WI 53072
   Ship To Address:
        Truck:         N224 W3322 Duplainville Road
                       Pewaukee, WI
                       Deliveries to dock doors 21 to 22
                       Phone:       (414) 566-6272
                       Fax:         (414) 566-6210


        Rail:          Canadian National
                       N224 W3322 Duplainville Road
                       Duplainville, WI 53072

   Plant Contacts
        Paper Warehousing:                   Phone:   (414) 566-6272
                                             Fax:     (414) 566-6210


        Electronic Transmissions:            Phone:   (414) 566-6000
                                             Information Systems Department

  Transportation Instructions
  Pewaukee facility cannot receive short height containers - does not have the ability to unload shipment- inside
  height clearance must be at least 92 inches.

  Rail Carrier
  Canadian National

  Delivery Information
  Paper is received at Quad/Graphics-Pewaukee facility 24 hours per day, 7 days per week,and most holidays,
  By Appointment Only.

  Appointments for Pewaukee plant are to be made 48 hours in advance, Monday through Friday, 7:00 AM through
  5:00 PM, at (414) 566-6272. When the carrier calls for an appointment, they will be given an appointment number.
  This number will be needed for off loading of roll stock.

  When calling for an appointment, the PURCHASE ORDER is required to ensure delivery to the correct facility, and
  to accommodate delivery due date, based on receiving paper 24 hours a day, 7 days a week.




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   Quad/Graphics Inc.
   West Allis, Wis.
   Plant Address:       555 South 108th Street
                        West Allis,WI 53214
   Ship To Address:
        Truck;          555 South 108th Street
                        West Allis, WI 53214
                        Deliveries to dock doors 26, 27 and 28
                        Phone:     (414) 566-3192
                        Fax:       (414) 566-9320


        Rail:           None

  Plant Contacts
       Paper Warehousing:                      Phone:   (414) 566-3192
                                               Fax:     (414) 566-9320


       Electronic Transmissions:               Phone:   (414) 566-6000
                                               Information Systems Department

  Transportation Instructions
  West Allis facility cannot receive short height containers - does not have the ability to unload shipment - inside
  height clearance must be at least 92 inches.

  Rail Carrier
  Not rail accessible

  Delivery Information
  Paper is received at Quad/Graphics-West Allis facility 24 hours per day, 7 days per week, and most holidays,
  By Appointment Only.

  Appointments for West Allis plant are to be made 48 hours in advance, Monday through Friday, 7:00 AM through
  5:00 PM,at (414) 566-3192. When the carrier calls for an appointment, they will be given an appointment number.
  This number will be needed for off loading of roll stock.

  When calling for an appointment, the PURCHASE ORDER is required to ensure delivery to the correct facility, and
  to accommodate delivery due date, based on receiving paper 24 hours a day, 7 days a week.




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   Quad/Graphics Inc.
   Hartford, Wis.
   Plant Address:      1900 West Sumner Street
                       Hartford, WI S3027
   Ship To Address:
       Truck:          1900 West Sumner Street
                       Hartford, WI 53027
                       Deliveries to dock doors 3-8
                       Phone:      (262) 673-1148
                       Fax:        (262) 673-1670


       Rail:           WSOR
                       1900 West Sumner Street
                       Hartford,WI 53027

  Plant Contacts
       Paper Warehousing:                   Phone:    (262) 673-1121
                                            Fax:      (262) 673-1670


       Electronic Transmissions:            Phone:    (414) 566-6000
                                            Information Systems Department

  Transportation Instructions
  Hartford facility cannot receive short height containers - does not have the ability to unload shipment - inside
  height clearance must be at least 92 inches.

  Rail Carrier
  WSOR

  Delivery Information
  Paper is received at Quad/Graphics-Hartford facility 24 hours per day, 7 days per week, and most holidays,
  By Appointment Only.

  Appointments for Hartford plant are to be made 48 hours in advance, Monday through Friday, 7:00 AM through
  5:00 PM, at (262) 673-1148. When the carrier calls for an appointment, they will be given an appointment number.
  This number will be needed for offloading of roll stock.

 When calling for an appointment, the PURCHASE ORDER is required to ensure delivery to the correct facility, and
  to accommodate delivery due date, based on receiving paper 24 hours a day, 7 days a week.




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   Quad/Graphics Inc.
   Lomira, Wis.
   Plant Address:      952 Badger Road
                       Lomira, WI 53048
   Ship To Address:
        Truck:         952 Badger Road
                       Lomira, WI 53048
                       The paper office is located in the southeast corner, between dock doors 1 and 2
                       Phone:      (920) 269-5522
                       Fax:        (920) 269-7032


        Rail:          Canadian National
                       952 Badger Road
                       Lomira, WI 53048

   Plant Contacts
        Paper Warehousing:                  Phone:    (920) 269-5522
                                            Fax:      (920) 269-7032


       Electronic Transmissions:            Phone:    (414) 566-6000
                                            Information Systems Department

  Transportation Instructions
  Lomira facility cannot receive short height containers - does not have the ability to unload shipment- inside
  height clearance must be at least 92 inches.

  Rail Carrier
  Canadian National

  Delivery Information
  Paper is received at Quad/Graphics-Lomira facility 24 hours per day, 7 days per week,and most holidays,
  By Appointment Only.

  Appointments for Lomira plant are to be made 48 hours in advance, Monday through Friday, 7:00 AM through
  5:00 PM, at (920) 269-5522. When the carrier calls for an appointment, they will be given an appointment number.
  This number will be needed for off loading of roll stock.

  When calling for an appointment, the PURCHASE ORDER is required to ensure delivery to the correct facility, and
  to accommodate delivery due date, based on receiving paper 24 hours a day, 7 days a week.




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   Quad/Graphics Inc.
   Saratoga Springs, N.Y.
   Plant Address:      56 Duplainville Road
                       Saratoga Springs, NY 12866
   Ship To Address:

       Trude           56 Duplainville Road
                       Saratoga Springs, NY 12866
                       Deliveries to dock doors 4-5, 31-36
                       Phone:      (518) 581-4349
                       Fax:        (518) 581-4884


       Rail:           56 Duplainville Road
                       Saratoga Springs, NY 12866

  Plant Contacts
       Paper Warehousing:                   Phone:      (518) 581-4349
                                            Fax:        (518) 581-4884


       Electronic Transmissions:            Phone:      (414) 566-6000
                                            Information Systems Department

  Transportation Instructions
  Saratoga Springs facility cannot receive short height containers - does not have the ability to unload shipment -
  inside height clearance must be at least 92 inches.

  Rail Carrier
  Canadian Pacific Railway

  Delivery Information
  Paper is received at Quad/Graphics-Saratoga Springs facility 24 hours per day, 7 days per week,and most holidays,
  By Appointment Only.

  Appointments for Saratoga Springs plant are to be made 48 hours in advance, Monday through Friday, 7:00 AM
  through 5:00 PM, at (518) 581-4349. When the carrier calls for an appointment, they will be given an appointment
  number. This number will be needed for off loading of roll stock.

  When calling for an appointment, the PURCHASE ORDER is required to ensure delivery to the correct facility, and
  to accommodate delivery due date, based on receiving paper 24 hours a day, 7 days a week.




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   Quad/Graphics Inc.
   Martinsburg, w.va.
   Plant Address:      855 Caperton Boulevard
                       Martinsburg,WV 25401
   Ship To Address:
        Truck:         855 Caperton Boulevard
                       Martinsburg.WV 25401
                       Deliveries to dock doors 7-9
                      Phone:       (304) 260-7186
                       Fax:        (414) 566-9555


       Rail:          855 Caperton Boulevard
                      Martinsburg, WV 25401

  Plant Contacts
       Paper Warehousing:                   Phone:    (304) 260-7186
                                            Fax:      (414) 566-9555


       Electronic Transmissions:            Phone:    (414) 566-6000
                                            Information Systems Department

  Transportation Instructions
  Martinsburg facility cannot receive short height containers - does not have the ability to unload shipment - inside
  height clearance must be at least 92 inches.

  Rail Carrier
  CSX Rail

  Delivery Information
  Paper is received at Quad/Graphics-Martinsburg facility 24 hours per day, 7 days per week, and most holidays,
  By Appointment Only.

  Appointments for Martinsburg plant are to be made 48 hours in advance, Monday through Friday, 7:00 AM
  through 5:00 PM,at (304) 260-7186. When the carrier calls for an appointment, they will be given an appointment
  number. This number will be needed for off loading of roll stock.

  When calling for an appointment, the PURCHASE ORDER is required to ensure delivery to the correct facility, and
  to accommodate delivery due date, based on receiving paper 24 hours a day, 7 days a week.




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   Quad/Graphics Inc.
  The Rock, Ga.
   Plant Address:      100 Duplainville Road
                      The Rock, GA 30285
  Ship To Address:
       Truck:          100 Duplainville Road.The Rock.GA 30285
                      Deliveries to dock doors 4--6
                      Phone:       (706) 648-5233 or (706) 648-5245
                      Fax:         (706) 648-5811


       Rall:          Norfolk Southern

  Plant Contacts
       Paper Warehousing:                   Phone:    (706) 648-5233 or (706) 648-5245
                                            Fax:      (706) 648-5811


       Electronic Transmissions:            Phone:    (414) 566-6000
                                            Information Systems Department

  Transportation Instructions
  The Rock facility cannot receive short height containers - does not have the ability to unload shipment - inside
  height clearance must be at least 92 inches.

  Rail Carrier
  Norfolk Southern

  Delivery Information
  Paper is received at Quad/Graphics-The Rock facility 24 hours per day, 7 days per week, and most holidays,
  By Appointment Only.

  Appointments for The Rock plant are to be made 48 hours in advance, Monday through Friday, 7:00 AM through
  5:00 PM,at (706) 648-5233 or (706) 648-5245. When the carrier calls for an appointment, they will be given an
  appointment number. This number will be needed for off loading of roll stock.

  When calling for an appointment, the PURCHASE ORDER is required to ensure delivery to the correct facility, and
  to accommodate delivery due date, based on receiving paper 24 hours a day, 7 days a week.




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   Quad/Graphics Inc.
   Oklahoma City, Okla.
   Plant Address:      6801 South Sunnylane Road
                       Oklahoma City,OK 73135
   Ship To Address:
        Truck:         6801 South Sunnylane Road
                       Oklahoma City, OK 73135
                       Deliveries to dock doors 4-9
                       Phone:      (405)264-4095
                       Fax:        (405) 264-4166


        Rail:          6801 South Sunnylane Road
                       Oklahoma City, OK 73135

   Plant Contacts
       Paper Warehousing:                   Phone:    (405) 264-4095
                                            Fax:      (405) 264-4166


       Electronic Transmissions:            Phone:    {414) 566-6000
                                            Information Systems Department

  Transportation Instructions
  The Oklahoma City facility cannot receive short height containers - does not have the ability to unload shipment -
  inside height clearance must be at least 92 inches.

  Rail Carrier
  BNSF Railroad

  Delivery Information
  Paper is received at Quad/Graphics-Oklahoma City facility 24 hours/day, 7 days per week, with the exception of
  some holidays.

  Appointments for the Oklahoma City plant are to be made 48 hours in advance, Monday through Friday, 8:00 AM
  through 4:00 PM, at {405) 264-4095. When the carrier calls for an appointment, they will be given an appointment
  number. This number will be needed for off loading of roll stock.

  When calling for an appointment, the PURCHASE ORDER is required to ensure delivery to the correct facility, and
  to accommodate delivery due date, based on receiving paper 24 hours a day, 7 days a week.




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   Quad/Graphics Inc.
  96" Cameron CT-16Two Drum Slitter/Rewinder
  Specifications
        Maximum Web Width                                 96"
        Minimum Width of Unwind Roll                      9"
        Maximum Roll Diameter                             60"
        Maximum Rewind Diameter                           60"
        Unwind Core Diameters                             3"and6"I.D.
        Rewind Core Diameters                             3" and 6"I.D.
        Minimum Trim Required                             ¼"
        Maximum No. Of Slits Strips                       8
        Minimum Width of Slit Strips                      12"
        Slitting Method/ Wrap around Shear
        Maximum Web Speed                                4000FPM

  Roll Wrap System
             Automated Roll Wrapping
             (accommodates full range of diameters)

             Header Press



             Individual or Multi-pack Wrapping

             Kraft or Stretch Wrapped
  For more informarion call Mike George: Paper Warehousing, Lomira (920) 269- 5521 or E-mail mgeorge@corp.qgraph.com




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                            National Rifle Association - Quad/Graphics, Inc.
                                                      Integrated Services Agreement



                                               SCHEDULE E - Production Schedule




                                                          QyadGraphics            fB
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                                                                                                                                                         08/30/2005 4:09:06 PM

Quad/Graphics, Inc.
Schedule for
AMERICAN RIFLEMAN -AMR1
                                                                                                                                         Oct-06     Nov-06       Dec-06       Jan-07
                                                                                                                                         A605JP0    A605JR0      A605JT0      A605JU0

                                                                                                                                                    09/06/06                  11/06/06
                                                                                                                                                    09/08/06                  11/08/06




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                       Case 21-30085-hdh11 Doc 118 Filed 02/08/21   Entered 02/08/21 14:35:16                    Page 62 of 78


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Quad/Graphics, Inc.
Schedule for
AMERICAN HUNTER-AMH1

                                                                    Jun-06     Jul-06       Aug-06                             Nov-06       Dec-06        Jan-07
                                                                    A605JY0    A605K00      A605K10                            A605K40      A605K50       A605K60


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                                                                    04/10/06




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                         Case 21-30085-hdh11 Doc 118 Filed 02/08/21                 Entered 02/08/21 14:35:16                      Page 63 of 78


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Quad/Graphics, Inc.
Schedule for

AMERICA'S FIRST FREEDOM· AME159

                                                                                                                                                                                Jan-07
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                                                                       0.620B     . 0624B       06g9B,          0633B       0637B         0642B      0€147A          0651A      0703B
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Quad/Graphics, Inc.
Schedule for

WOMAN'S OUTLOOK NRA- WOM118

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                                                                                                                                              BODY-72     BOD't'.~72      BODY-72         BODY-68
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                                                                     rAe•05K9        A6-05KA       Jl..6:::05KC:. A6-05KD      A6-0pKE ... A6-05KF        A6·05KH         A6-05KJ         A6-05KK
                                            0l;,121:}j; . , J0616B   IQ§2QB.•·••:i.. 0624B         0I@B.·         06338        0637.B ·       0642B       0647A          ·. 0651A         Q651A
                                                                     103!?13/06,. ··.•. 04/25106   915(30/06.., ... 06/27/06   07I?5IQ6       08/29/06    09/26(06        10/31/06        11/28/06
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                            National Rifle Association - Quad/Graphics, Inc.
                                                      Integrated Services Agreement



                                                   SCHEDULE F - Holiday Schedule




                                                          Q..uadGraphics          fJ1
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       National Rifle Association
       Integrated Services Agreement
       Schedule F - Quad/Graphics Holiday Schedule*



       New Year's Day                                                         7 a.m. January 1 to 7 a.m. January 2nd
       Founder's Day                                        2nd Sunday in January, 7 p.m. Saturday to 7 p.m. Sunday
       Easter                                                                       7 a.m. Sunday to 7 a.m. Monday
       Memorial Day                                                                7 a.m. Monday to 7 a.m. Tuesday
       Independence Day                                                                 7 a.m. July 4 to 7 a.m. July 5
       Labor Day                                                                   7 a.m. Monday to 7 a.m. Tuesday
       Thanksgiving Day                                                             7 a.m. Thursday to 7 a.m. Friday
       Christmas Eve Day                                                 7 a.m. December 24 to 7 a.m. December 25
       Christmas Day                                                     7 a.m. December 25 to 7 a.m. December 26
       New Year's Eve Day                                                    7 a.m. December 31 to 7 a.m. January 1




      * Holiday periods are subject to change by management.  Holiday period will be celebrated when possible by all
       employees on the day and night of that holiday, except for Easter and Founder's Day. Easter will be on 7 p.m.
       Saturday shift and Easter Sunday day shift. The Founder's Day holiday will be determined each year by the
       President and may change from time to time.


      August 22, 2005                                  ***DRAFT***                 Holiday Schedule Updated May 2004
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                            National Rifle Association - Quad/Graphics, Inc.
                                                      Integrated Services Agreement



                                             SCHEDULE G - Payment Terms Letter




                                                         QyadGraphics             fli.
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 t, QyadGraphics·
         November 2, 2005
                                                                                         N63 W23075 Main St.
                                                                                                   Sussex, WI
                                                                                                  53089-2827
                                                                                             tel 414.566.6000
         National Rifle Association
         Attn: Ms. Lisa George
         NRA Director of Purchasing
         11250 Waples Mill Road
         Fairfax, VA 22030

         Dear Ms. George:

         This letter is to confirm credit payment terms for NRA's publications print orders with
         Quad/Graphics, Inc. Credit payment terms are as follows. Looking forward to working with you.

             MFG-DUE1%10DAYS FROM INVOICE DATE OR NET45DAYSFROM INVOICBDATE


                                   PAPER- WILL BB SUPPLIED BY CUSTOMER


                      MISCELLANEOUS INVOICES- DUE NET 30 DAYS FROM INVOICE DATE


                 PER l.C.C. REGULATIONS, FREIGHT - DUE NET 10 DAYS FROM INVOICE DATE.


        Should there be a substantial adverse change in Customer's credit standing so that Quad/Graphics
        has reasonable grounds for insecurity with respect to Customer's compliance with the credit terms
        of this Agreement, Quad/Graphics has the right to request adequate assurance of due performance
        from Customer, and Customer shall furnish such assurances promptly to Quad/Graphics.

        Please sign copy of this letter and return to my attention via fax (414) 566-9415. We will send
        invoices electronically to Mike Sanford's attention MSanford@nrahq.org, unless instructed
        otherwise. Quad/Graphics reserves the right to assess a service charge for all balances that reach
        30 days past the terms of payment. It is our expectation that any undisputed portions of disputed
        invoices will be paid according to the credit terms above.

        Thank you for your cooperation in this matter. If you ever need my assistance, please feel free to
        call me at ( 414) 566-2792.

        Sincerely,                                     I agree to the payment terms as stated above.

        Nina Smith
        Nina Smith
                                                                    ,{~
                                                       Name/Title:~r~;' bl>                 ///.q/:,,,,,-s-
        Credit Department                                          A:~pted by:            Date
        Quad/Graphics, Inc.                                         I!..!"""" II, IC"" ,,.....s .::r'-
                                                                 Please print name
        Cc: Tom Wilson- Quad/Sales
        Quad/Contract Department
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                            National Rifle Association - Quad/Graphics, Inc.
                                                       Integrated Services Agreement



                                                   SCHEDULE H - Multi-Bind Terms




                                                          QuadGraphics            m
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                                      SCHEDULER
                           MULTI-BIND TERMS AND CONDITIONS


             Customer may, from time to time, participate in Quad/Graphics' Multi-Bind
     Program ("MBP") whereby two or more of Customer's titles will be assembled on the
     same finishing equipment and pre-sorted together in a single mail stream. Such
     participation shall be subject to the terms and conditions contained in this Schedule.

          1.       Term and Termination. Customer may terminate participation in the
     MBP with at least thirty (30) days' advance written notice to Quad/Graphics.

            2.      Scope. From the Effective Date until such time as participation in the
     MBP is terminated or modified by Customer, the MBP will include the titles listed
     below:

                    Group One:

                    American Rifleman and American Hunter

                    Group Two:

                    America's 1st Freedom and Woman's Outlook

     In the event Customer wishes to change the scope of the MBP by adding titles, changing
     the make-up of the groups, combining the groups or changing the manufacturing
     specifications of the titles involved in the MBP, Quad/Graphics will use commercially
     reasonable efforts to accommodate such changes, subject to Quad/Graphics' schedule and
     equipment availability. If any proposed change in manufacturing specifications results in
     a change in pricing or schedule, Quad/Graphics will notify Customer as soon as
     practicable and Quad/Graphics will obtain Customer's approval before effecting the
     change.
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InvRef#   Type      Inv.Date      Balance       Description                            Cust#   Comments                                     Customer name
4251898   AR-FRT    09/11/20   $        58.50   OCT 2020                               N915    PREPETITION - CH11 FILED ON 1-15-2021        NATIONAL RIFLE ASSOCIATION
4265615   AR-MFG    10/14/20   $    21,619.81   AMERICAN RIFLEMAN - OCT 2020 2 AND 4   N915    PREPETITION - CH11 FILED ON 1-15-2021        NATIONAL RIFLE ASSOCIATION
4273426   AR-MFG    10/26/20   $    48,554.33   AMERICAN RIFLEMAN - NOV 2020 2 AND 4   N915    PREPETITION - CH11 FILED ON 1-15-2021        NATIONAL RIFLE ASSOCIATION
4277233   AR-PREP   10/29/20   $     7,030.40   2021 PUBLISHER S STUDIO 11/15/20 - 1   NA027   PREPETITION - CH11 FILED ON 1-15-2021        NATIONAL RIFLE ASSOCIATION
4293428   AR-FRT    11/25/20   $     5,135.98   2020 HOLIDAY 1/2                       NA192   PREPETITION - CH11 FILED ON 1-15-2021        NATIONAL RIFLE ASSOCIATION
4305110   AR-MFG    12/16/20   $   150,755.39   AMERICAN RIFLEMAN - JAN 2021           N915    PREPETITION - CH11 FILED ON 1-15-2021        NATIONAL RIFLE ASSOCIATION
4305132   AR-MFG    12/16/20   $   124,278.12   AMERICAN HUNTER - JANUARY 2021         N915    PREPETITION - CH11 FILED ON 1-15-2021        NATIONAL RIFLE ASSOCIATION
4305467   AR-MFG    12/16/20   $   113,789.77   SHOOTING ILLUSTRATED - JAN 2021        NA106   PREPETITION - CH11 FILED ON 1-15-2021        NATIONAL RIFLE ASSOCIATION
4305479   AR-MFG    12/16/20   $    97,579.11   AMERICA S FIRST FREEDOM - JAN 2021     N915    PREPETITION - CH11 FILED ON 1-15-2021        NATIONAL RIFLE ASSOCIATION
4311428   AR-MFG    01/04/21   $    30,698.54   NRA MERCHANDISE - 2021 WINTER 1/2      NA192   PREPETITION - CH11 FILED ON 1-15-2021        NATIONAL RIFLE ASSOCIATION
4320137   AR-MFG    01/14/21   $   140,766.15   AMERICAN RIFLEMAN - FEB 2021           N915    PREPETITION - CH11 FILED ON 1-15-2021        NATIONAL RIFLE ASSOCIATION
4320365   AR-FRT    01/14/21   $    18,056.00   FEB 2021                               N915    PREPETITION - CH11 FILED ON 1-15-2021        NATIONAL RIFLE ASSOCIATION
4320366   AR-FRT    01/14/21   $    37,135.77   FEB 2021                               N915    PREPETITION - CH11 FILED ON 1-15-2021        NATIONAL RIFLE ASSOCIATION
4320367   AR-FRT    01/14/21   $    12,722.75   FEB 2021                               N915    PREPETITION - CH11 FILED ON 1-15-2021        NATIONAL RIFLE ASSOCIATION
4320368   AR-FRT    01/14/21   $     1,085.38   JAN 2021                               N915    PREPETITION - CH11 FILED ON 1-15-2021        NATIONAL RIFLE ASSOCIATION
4320369   AR-FRT    01/14/21   $     5,779.81   JAN 2021                               N915    PREPETITION - CH11 FILED ON 1-15-2021        NATIONAL RIFLE ASSOCIATION
4320370   AR-FRT    01/14/21   $       767.98   JAN 2021                               N915    PREPETITION - CH11 FILED ON 1-15-2021        NATIONAL RIFLE ASSOCIATION
4320135   AR-MFG    01/15/21   $    62,783.38   SHOOTING ILLUSTRATED - FEB 2021        NA106   PREPETITION - CH11 FILED ON 1-15-2021        NATIONAL RIFLE ASSOCIATION
4320138   AR-MFG    01/15/21   $    73,303.26   AMERICAN HUNTER - FEB 2021             N915    PREPETITION - CH11 FILED ON 1-15-2021        NATIONAL RIFLE ASSOCIATION
4320140   AR-MFG    01/15/21   $    51,668.74   AMERICA S FIRST FREEDOM - FEB 2021     N915    PREPETITION - CH11 FILED ON 1-15-2021        NATIONAL RIFLE ASSOCIATION
4321155   AR-FRT    01/18/21   $    14,729.51   FEB 2021                               NA106   PREPETITION - POSTAL FRT SHIPPED 1/11/2021   NATIONAL RIFLE ASSOCIATION
4321156   AR-FRT    01/18/21   $     1,520.97   JAN 2021                               NA106   PREPETITION - BULK FRT SHIPPED 12/16/2020    NATIONAL RIFLE ASSOCIATION
4318643   AR-PREP   01/26/21   $     1,110.00   ADSHUTTLE OCT-DEC 20                   NA027   PREPETITION - CHARGES OCT-DEC 2020           NATIONAL RIFLE ASSOCIATION
                               $ 1,020,929.65




                                                                     Ex. 2
                                   Case 21-30085-hdh11 Doc 118 Filed 02/08/21              Entered 02/08/21 14:35:16           Page 72 of 78
                                                               Aged Paper Inventory Report
                                                                               Customer: ALL
                                                                                Owner: ALL
                                                                    Date: 1/15/2021 Day Increment: 120
                                                                               Location: ALL
National Rifle Association (296) / NATIONAL RIFLE ASSOCIATION OF AMERICA (2172)
 Basis    Paper                                                                           Total On <= 120 Days > 120 Days > 240 Days > 360 Days
                      Size          Location   Lot Nbr   PO Nbr             Brand          Hand
 Weight    Type                                                                                     (9/17/2020) (9/17/2020) (5/20/2020) (1/21/2020)
32.0000     ROLL      31.75 in THE ROCK        732870 10580650       KRUKOTE OFFSET         (lb) lb
                                                                                            1,500             0           0        1,500          0

32.0000     ROLL      31.75 in THE ROCK        738704 10580773       KRUKOTE OFFSET         13,590 lb         0           0      13,590          0

32.0000     ROLL         47 in THE ROCK        707298 741733/9733    KRUKOTE OFFSET          6,842 lb         0           0           0       6,842

32.0000     ROLL         47 in THE ROCK        722961 742056/9745    KRUKOTE OFFSET         14,895 lb         0           0           0      14,895

32.0000     ROLL         47 in THE ROCK        727576 742242/9752    KRUKOTE OFFSET          3,770 lb         0           0           0       3,770

32.0000     ROLL         47 in THE ROCK        742413 742764/9766    KRUKOTE OFFSET            782 lb         0           0         782          0

32.0000     ROLL         47 in THE ROCK        744248 742835/9771    KRUKOTE OFFSET          7,028 lb         0       7,028           0          0

32.0000     ROLL         47 in THE ROCK        753285 742947/9773       UPM COTE H           6,849 lb         0       6,849           0          0

32.0000     ROLL         47 in THE ROCK        768534 743133/9786    KRUKOTE OFFSET       255,121 lb    255,121           0           0          0

32.0000     ROLL         47 in THE ROCK        772401 743231/9789    KRUKOTE OFFSET       454,144 lb    454,144           0           0          0

32.0000     ROLL       62.5 in THE ROCK        727579 742242/9751    KRUKOTE OFFSET         40,033 lb         0           0      40,033          0

32.0000     ROLL       62.5 in THE ROCK        727581 742241/9750        UPM Cat H           5,113 lb         0           0       5,113          0

32.0000     ROLL       62.5 in THE ROCK        732872 10580650       KRUKOTE OFFSET          9,926 lb         0           0       9,926          0

32.0000     ROLL       62.5 in THE ROCK        738694 10581368       KRUKOTE OFFSET          5,005 lb         0           0       5,005          0

32.0000     ROLL       62.5 in THE ROCK        753286 742946         KRUKOTE OFFSET          9,737 lb         0       9,737           0          0

32.0000     ROLL       62.5 in THE ROCK        760634 743008/9780    KRUKOTE OFFSET         15,222 lb    15,222           0           0          0

32.0000     ROLL       62.5 in THE ROCK        765323 10582342          UPM COTE H        210,338 lb    210,338           0           0          0

32.0000     ROLL       62.5 in THE ROCK        765326 10582340       KRUKOTE OFFSET         90,855 lb    90,855           0           0          0

32.0000     ROLL       62.5 in THE ROCK        768535 743133/9785    KRUKOTE OFFSET       148,069 lb    148,069           0           0          0

32.0000     ROLL       62.5 in THE ROCK        768536 743132/9784       UPM COTE H        364,193 lb    364,193           0           0          0

32.0000     ROLL       62.5 in THE ROCK        772403 743232/9790        UPM Cat H        338,874 lb    338,874           0           0          0

38.0000     ROLL      31.75 in THE ROCK        732935 10580998       KRUKOTE OFFSET          2,690 lb         0           0       2,690          0



Created On:1/20/2021 11:20:27 AM                                              Created By:QG\RMMILL                                                    Page 1 of 3
Data From:1/20/2021 11:20:27 AM                                                                                                                       Region:USA


                                                                    Ex. 3
                                   Case 21-30085-hdh11 Doc 118 Filed 02/08/21            Entered 02/08/21 14:35:16            Page 73 of 78
                                                               Aged Paper Inventory Report
                                                                               Customer: ALL
                                                                                Owner: ALL
                                                                    Date: 1/15/2021 Day Increment: 120
                                                                               Location: ALL
National Rifle Association (296) / NATIONAL RIFLE ASSOCIATION OF AMERICA (2172)
 Basis    Paper                                                                         Total On <= 120 Days > 120 Days > 240 Days > 360 Days
                      Size          Location   Lot Nbr   PO Nbr           Brand           Hand
 Weight    Type                                                                                    (9/17/2020) (9/17/2020) (5/20/2020) (1/21/2020)
38.0000     ROLL      31.75 in THE ROCK        765325 10582340       KRUKOTE OFFSET        (lb) lb
                                                                                         59,549          59,549          0           0           0

60.0000     ROLL         16 in THE ROCK        742410 742766/9767    RUMFORD OFFSET        5,393 lb         0           0        5,393          0
                                                                           PLUS
60.0000     ROLL         29 in SUSSEX          552243 737147         INFLUENCE MATTE         485 lb         0           0            0        485
                                                                           WEB
60.0000     ROLL         29 in WEST ALLIS      552243 737147         INFLUENCE MATTE       2,257 lb         0           0            0       2,257
                                                                           WEB
80.0000     ROLL       31.5 in THE ROCK        722956 742059/9749     SOMERSET WEB         7,965 lb         0           0            0       7,965
                                                                          GLOSS
80.0000     ROLL       31.5 in THE ROCK        738689 10580805        SOMERSET WEB         5,157 lb         0           0        5,157          0
                                                                          GLOSS
80.0000     ROLL       31.5 in THE ROCK        757726 742982/9774     SOMERSET WEB         5,378 lb         0        5,378           0          0
                                                                          GLOSS
80.0000     ROLL       31.5 in THE ROCK        760635 743006/9778     SOMERSET WEB        15,555 lb    15,555           0            0          0
                                                                          GLOSS
80.0000     ROLL       31.5 in THE ROCK        768537 10582618        SOMERSET WEB           597 lb       597           0            0          0
                                                                          GLOSS
80.0000     ROLL       31.5 in THE ROCK        772400 743230/9788     SOMERSET WEB      374,013 lb    374,013           0            0          0
                                                                          GLOSS




Created On:1/20/2021 11:20:27 AM                                            Created By:QG\RMMILL                                                     Page 2 of 3
Data From:1/20/2021 11:20:27 AM                                                                                                                      Region:USA
                                   Case 21-30085-hdh11 Doc 118 Filed 02/08/21           Entered 02/08/21 14:35:16             Page 74 of 78
                                                         Aged Paper Inventory Report
                                                                          Customer: ALL
                                                                           Owner: ALL
                                                               Date: 1/15/2021 Day Increment: 120
                                                                          Location: ALL

                                                                 ROLL GRAND TOTAL: 2,480,925         2,326,530      28,992      89,189      36,214
                                                                                           lb
                                                                         REJECTED:  90,549 lb          32,018        6,264      32,003      20,264




Location Totals
                                                                                        Total On <= 120 Days > 120 Days > 240 Days > 360 Days
                                                                                         Hand      (9/17/2020) (9/17/2020) (5/20/2020) (1/21/2020)
                                                                                          (lb)
                                                             SUSSEX Location Totals:        485 lb           0           0           0         485

                                                                          REJECTED:           0 lb          0           0            0          0

                                                           THE ROCK Location Totals:2,478,183        2,326,530      28,992      89,189      33,472
                                                                                            lb
                                                                          REJECTED:  90,549 lb         32,018        6,264      32,003      20,264

                                                          WEST ALLIS Location Totals:     2,257 lb          0           0            0       2,257

                                                                          REJECTED:           0 lb          0           0            0          0




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Data From:1/20/2021 11:20:27 AM                                                                                                                      Region:USA
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                           In re: Sea Girt LLC - Case No. 21-30080
               In re: National Rifle Association of America - Case No. 21-30085

                                   MASTER SERVICE LIST

                                    Debtor/Debtor’s Counsel


  National Rifle Association of America          Neligan LLP
  11250 Waples Mill Road                         Attn: Patrick J. Neligan
  Fairfax, VA 22030                                      Douglas J. Buncher
                                                         John D. Gaither
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                                                 Dallas, TX 75201
                                                 Email: pneligan@neliganlaw.com
                                                         dbuncher@neliganlaw.com
                                                         jgaither@neliganlaw.com
  Sea Girt LLC
  11250 Waples Mall Road
  Fairfax, VA 22030

                                          U.S. Trustee

  Office of the United States Trustee
  Attn: Lisa Young
  Earle Cabell Federal Building
  1100 Commerce Street, Room 976
  Dallas, TX 75242

                                        Secured Creditors

  Atlantic Union Bank
  Attn: Andrew Kalin
  1800 Robert Fulton Drive, Suite 100
  Reston, VA 20191
  Email: andrew.kalin@atlanticunionbank.com

                                20 Largest Unsecured Creditors

  Ackerman McQueen, Inc.                         Membership Marketing Partners LLC
  1601 Northwest Expressway                      11250 Waples Mill Road, Suite 310
  Oklahoma City, OK 73118-1438                   Fairfax, VA 22030




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  Gould Paper Corporation                        Infocision Management Corp.
  Attn: Warren Connor                            325 Springside Drive
  99 Park Avenue, 10th Floor                     Akron, OH 44333
  New York, NY 10016

  Under Wild Skies                               Valtim Incorporated
  201 N. Union Street, Suite 510                 P.O. Box 114
  Alexandria, VA 22314                           Forest, VA 24551

  Quadgraphics                                   Communications Corp of America
  N63W23075 Hwy. 74                              Attn: Judy Reid
  Sussex, WI 53089                               13195 Freedom Way
                                                 Boston, VA 22713

  Membership Advisors Public REL                 Salesforce.Com, Inc.
  11250 Waples Mill Road, Suite 310              One Mark St. – The Landmark, Suite 300
  Fairfax, VA 22030                              San Francisco, CA 94105

  Mercury Group                                  Speedway Motorsports, Inc.
  1601 NW Expressway, Suite 1100                 P.O. Box 600
  Oklahoma City, OK 73118                        Concord, NC 28026

  Image Direct Group LLC                         Google
  200 Monroe Avenue, Building 4                  1600 Amphitheatre Parkway
  Frederick, MD 21701                            Mountain View, CA 94043-1351

  TMA Direct, Inc.                               United Parcel Services
  12021 Sunset Hills Road, Suite 350             P.O. Box 7247-0244
  Manassas, VA 20109                             Philadelphia, PA 19170

  Membership Advisors Fund Raising               Stone River Gear, LLC
  11250 Waples Mill Road, Suite 310              P.O. Box 67
  Fairfax, VA 22030                              Bethel, CT 06801

  Krueger Associates, Inc.                       CDW Computer Centers, Inc.
  105 Commerce Drive                             P.O. Box 75723
  Aston, PA 19014                                Chicago, IL 60675

                                       Government Agencies


  Internal Revenue Service                       Office of Attorney General (NY)
  P.O. Box 7346                                  Attn: Letitia James
  Philadelphia, PA 19101-7346                    28 Liberty Street
                                                 New York, NY 10005




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